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                                                                            Exhibit

                                                                              A
                     Index of Documents Filed with Removal

   Exhibit                      Description                    Date Filed
   Number                                                       in State
                                                                 Court

     A-1     Harris County District Court Docket Sheet            N/A

     A-2     Original Petition (with Exhibit A)                4/29/2019

     A-3     Request for Citation                              4/29/2019

     A-4     Affidavit of Service                              5/1/2019

     A-5     Answer of Starr Indemnity and Liability Company   5/14/2019
             Case 4:19-cv-01780 Document 1-1 Filed on 05/15/19 in TXSD Page 2 of 195
                                     Harris County Docket Sheet                            Exhibit

                                                                                            A-1
2019-29904
COURT: 152nd
FILED DATE: 4/29/2019
CASE TYPE: Insurance

                                 AHG PROPERTIES LLC
                                    Attorney: SAXE, TRACY A

                                               vs.
                       STARR INDEMNITY AND LIABILITY COMPANY
                                   Attorney: CURRAN, ALICIA G.



                                      Docket Sheet Entries
         Date         Comment




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152                                                                         5/14/2019 3:07:23 PM
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HCDistrictclerk.com              AHG PROPERTIES LLC vs. STARR INDEMNITY AND                                            5/14/2019
                                 LIABILITY COMPANY
                                 Cause: 201929904  CDI: 7    Court: 152

DOCUMENTS
Number        Document                                                                               Post Date             Pgs
                                                                                                     Jdgm
85243062      Defendant Starr Indemnity And Liability Company's Answer And Affirmative Defenses to        05/14/2019       84
              Plaintiff's Original Petition
85048111      Affidavit of Service                                                                        05/01/2019       3
85013321      Plaintiffs' Original Petition                                                               04/29/2019       28
·> 85013323   Civil Process Request                                                                       04/29/2019       1
·> 85013322   Exhibit A                                                                                   04/29/2019       71
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                                                                                                                              Exhibit

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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this May 8, 2019


     Certified Document Number:        85013323 Total Pages: 1




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this May 8, 2019


     Certified Document Number:        85013321 Total Pages: 28




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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this May 8, 2019


     Certified Document Number:        85013322 Total Pages: 71




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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                                                                                                                      AFFIDAVIT OF SERVICE
                                                                                                                                                                                                                               A-4
                                                     State of Texas                                                               County of Harris                                        152nd Judicial District Court

                                                     Case Number: 201929904

                                                     Plaintiff:                                                                                                                   1111111111111111111111111111111111111
                                                     AHG Properties LLC                                                                                                                       LAW2019000573

                                                     vs.
                                                    Defendant:
                                                    Starr Indemnity              and Liability           Company

                                                    Received by Civil Process Direct, LLC on the 30th day of April. 2019 at 2:23 pm to be served on Starr
                                                    Indemnity and Liabilty Company By Oelivering to its Registered Agent, C.T. Corporation System, 1999
                                                    Bryan St. Ste.900, Dallas, TX 75201.

                                                    I, Whitnie Renee Climer. being duly sworn, depose and say that on the 30th day of April, 2019 at 3:00 pm,
                                                    I:

                                                    executed service upon an AUTHORrZED entity by delivering a true copy of the Citation with Plaintiffs
                                                    Original Petition, Exhibits with the date of service endorsed thereon by me, to: Melissa Torrez as
                                                    Designee at the address of: 1999 Bryan 8t. 8te.900, Dallas, TX 75201, who accepted service for Starr
                                                    Indemnity and Liabilty Company, and informed said person of the contents therein, in compliance with
                                                    state statutes.


                                                    "I certify that I am over the age of 18, have no interest in the above action, and am a Certified Process
                                                    Server, in good standing, in the State of Texas. I have never been convicted of a felony or misdemenor
                                                    involving moral turpitude in any state or federal jurisdiction. I declare that I have personal knowledge of
                                                    these facts and the statements in this affidavit are true and correct."




                                                                                                                                                       Whitnie Renee Climer
                                                                                                                                                       PSC-11907,  Exp.3/31i21
CertifiedDocumentNumber:85048111-Page1of3




                                                                                                                                                       Civil Process Direct, LLC
                                                                                                                                                       706 Main Street
                                                                                                                                                       Ste 100
                                                                                                                                                       Dallas, TX 75202
                                                                                                                                                       (214) 651-7111

                                                                          JASON M. COHEN                                                               Our Job Serial Number: LAW-2019000573
                                                                         My Notary ID # 3102653
                                                                          ExpiresApril 23, 2022
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                                                                                                  CAUSE      NUMBER;     201929904


                                            PLAINTIFF;        AHG PROPERT:ES             LLC                                                 In the 152nd Judicia:

                                            vs.                                                                                              D~str~ct     Court   of

                                            DEFENDANT:             STARR         INDEMNITY          AND          LIABILITY                   Harris   County.     Texas
                                            COMPANY


                                                                                                                 C.'::TATION
                                            THE STATE    OF TEXAS
                                            County    of Harris

                                            TO;    STARR     INDEMNITY       AND LIA8ILITY               COM!?AN'l:' BY SERVING      CT    CORPOR.~T:ON    SYS'c'EMS

                                            1999 BRYAN STREET              SUITE       900
                                            DALLAS    IX 75201


                                                  Attached     is a copy          of    PLAINTIFFS'         ORIGINAL      PETITION.
                                            '!'hisa.ns t r umerrt was filed on April 29, 2019, in the above numbered and styled cause
                                            on the docket in t.he above Judicial       District Court of Harris County  Texas, in the                        I


                                            courthouse in the City of Houston, Texas, The instrument attached describes      the cla~m
                                            against   you.
                                               YOU HAVE BEEN SUED.   You may employ an at tcrney.  I f you or your at torney do not
                                            file a written answer with the District Clerk who issued this citat~on by 10:00 a.m.
                                            on the Monday next following the expiration of twenty days after you were served this
                                            citation nnd petition, a default judgment may be taken againct you.
                                                  ISSUED     AND    GIVEN        ONDER       MY   HAND     and    seal   of    sa i d Cou rt.,   at   Houst.on, 1'exas, Lhis
                                            April    30, 2019.




                                                                                                                               Marilyn Burgess, Districl Clerk
                                                                                                                               HdLCis CounLy. Texas
                                                                                                                               201 Caroline, Houston. Texas 77002


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                                            Issued aL requesL              0[;
                                            SAXE, TRACY ALAN
CertifiedDocumentNumber:85048111-Page2of3




                                            35 NUTMEG DRIVE,           STE. 140
                                            TRUMBU~L, CT            06611
                                            203-287-2100

                                            Bar Number:       24094388
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                                                                                                                                                                                Tracking      Numbe~:     73619199



                                                                                                                    CAUSE NUMBER: 20~929904


                                            t.'LAINTIFf; MIG PROPERTIES                                    LLC                                                                 In the       152nd
                                                        vs.                                                                                                                    Judicial       District        Cou~t
                                            DEFENDAN::                        STARR           INDEMNITY     AND LIABILITY                 COMPANY                              of HarrLS       County,        Texas




                                                                                                            OFFICER/AUTHORIZED                      PERSON        RETURN
                                            Came     to     hand     at
                                            ________________________________________
                                                                                                          ____      0'   clock
                                                                                                                                 ,       20          _
                                                                                                                                                          M.,           on         the                   day          0:
                                            Executed    at   (address)
                                            in                   County
                                            at
                                                __________________
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                                                                                                                                                                       the                                            0:
                                                                                                                                                                       ---,
                                            by delivering   to                                                                                                                                        defendant,
                                            in person, a true copy                                    of this
                                            Citation    together                                       with         the   accompanying                                                 copy (ies)        of       the
                                                                                                                               Petition
                                            aetached                   thereto                and   I endorsed      on said copy of the Citation                                   the date    of delivery.
                                            To             certify
                                            __________________________________________
                                                                                         which        I     affix         my
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                                                                                                                                                    officially                this                        day         0':

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                                            County,                 :-exas
                                                                                                                                              By:
                                                                                ACfianL                                                                                     DepuLy
                                            On this day,                                                                                                                                    known    to me      to be
                                            the person whose signature
                                            appears on the foregoing   return,                                           personally  appeared.  After being by me duly sworn,
                                            he/she stated that this citation                                             was executed by him/her in the exact manner recited
                                            on the return.
CertifiedDocumentNumber:85048111-Page3of3




                                            SWORN       TO                                AND        .SUBSCRIBED                BEFORE                   ME            on          t h is
                                            __________________                            .                               ,    20               _



                                                                                                                                                                               Notary       Public
             Case 4:19-cv-01780 Document 1-1 Filed on 05/15/19 in TXSD Page 110 of 195




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this May 8, 2019


     Certified Document Number:        85048111 Total Pages: 3




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com
                                                       Case 4:19-cv-01780 Document 1-1 Filed on 05/15/19 in TXSD Page 111 of 1955/14/2019 12:30 PM
                                                                                                                               Marilyn Burgess - District Clerk Harris County
                                                                                                                                                    Envelope No. 33551140
                                                                                                                                                     By: KATINA WILLIAMS
                                                                                                                                                 Filed: 5/14/2019 12:30 PM



                                                                                        CAUSE NO. 2019-29904                                                Exhibit

                                                                                                                                                             A-5
                                                     AHG PROPERTIES, LLC AND                        §             IN THE DISTRICT COURT OF
                                                     EASTWOOD TERRACE AND                           §
                                                     OAKHILL PLAZA, LLC,                            §
                                                                                                    §
                                                              Plaintiffs,                           §
                                                                                                    §
                                                                                                                      HARRIS COUNTY, TEXAS
                                                                                                    §
                                                     vs.                                            §
                                                                                                    §
                                                     STARR INDEMNITY AND LIABILITY
                                                                                                    §
                                                     COMPANY,
                                                                                                    §
                                                              Defendant.                            §               152ND JUDICIAL DISTRICT

                                                       DEFENDANT STARR INDEMNITY AND LIABILITY COMPANY’S ANSWER AND
                                                           AFFIRMATIVE DEFENSES TO PLAINTIFFS’ ORIGINAL PETITION

                                                              COMES NOW, Starr Indemnity and Liability Company (“Defendant” or “Starr”) and

                                                     files this, its Answer and Affirmative Defenses to AHG Properties, LLC (“AHG”) and Eastwood

                                                     Terrace and Oakhill Plaza, LLC’s (“Eastwood” and collectively “Plaintiffs”) Original Petition,

                                                     and for same would respectfully show the Court as follows:

                                                                                                I.
                                                                                          GENERAL DENIAL

                                                              1.     Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally

                                                     denies each and every allegation pled by Plaintiffs in their Original Petition and requires that
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                                                     Plaintiffs prove same by the standard of proof provided by the Constitution and laws of this

                                                     State.




                                                     DEFENDANT STARR INDEMNITY AND LIABILITY COMPANY’S ANSWER
                                                     AND AFFIRMATIVE DEFENSES TO PLAINTIFFS’ ORIGINAL PETITION - Page 1
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                                                                                                 II.
                                                                                        AFFIRMATIVE DEFENSES

                                                             2.      Starr affirmatively asserts that Plaintiffs are barred in whole or in part by the

                                                     terms, conditions, provisions, limits, exclusion, and endorsements of the Starr Resolute Portfolio

                                                     policy number 1000057336161 issued to AHG for the policy period November 3, 2016 through

                                                     November 30, 2017 with a pending or prior date of November 4, 2015 applicable to the Directors

                                                     and Officers Liability Coverage Section (“Starr Policy”). A true and correct copy of the Starr

                                                     Policy is attached hereto and incorporated by reference as if fully set forth verbatim. All such

                                                     terms, conditions, provisions, limits, exclusions, and endorsements are expressly asserted and

                                                     incorporated herein as if fully copied and set forth at length.

                                                             3.      Starr affirmatively asserts that Plaintiffs have not suffered any damage or injury

                                                     as a result of any alleged act or failure to act by Starr.

                                                             4.      Starr affirmatively asserts that the money Plaintiffs are obligated to pay the

                                                     United States Department of Housing and Urban Development (“HUD”) for unsupported

                                                     vouchers/subsidies as stated on the HUD-9834 form (also referred to as a Management and

                                                     Occupancy Review Summary Report or “MOR” Report) is not a “Loss” as defined by the

                                                     Directors and Officers Liability Coverage Section of the Starr Policy.

                                                             5.      Starr affirmatively asserts that the money Plaintiffs are obligated to pay HUD for
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                                                     irregularities in tenant files, including but not limited to incomplete and/or inaccurate

                                                     information in tenant HUD-50059 forms, incomplete move-in and move-out certifications,

                                                     required documentation, and signatures on tenant paperwork that did not match prior signatures

                                                     (suggesting forged signatures) is not a “Loss” as defined by the Directors and Officers Liability

                                                     Coverage Section of the Starr Policy.



                                                     DEFENDANT STARR INDEMNITY AND LIABILITY COMPANY’S ANSWER
                                                     AND AFFIRMATIVE DEFENSES TO PLAINTIFFS’ ORIGINAL PETITION - Page 2
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                                                            6.      Starr affirmatively asserts that the HUD-9832 MOR Report is not a “Claim” as

                                                     that term is defined by the Directors and Officers Liability Coverage Section of the Starr Policy.

                                                            7.      Starr affirmatively asserts that Plaintiffs’ costs to comply with the HUD-9832

                                                     MOR Report are not “Defense Costs” as defined by the Directors and Officers Liability

                                                     Coverage Section of the Starr Policy.

                                                            8.      Starr affirmatively asserts that “Defense Costs” as defined in the Directors and

                                                     Officers Liability Coverage Section of the Starr Policy do not include amounts incurred prior to

                                                     the date a “Claim” was first made and reported to Starr.

                                                            9.      Starr affirmatively asserts that Plaintiffs did not comply with the General Terms

                                                     and Conditions Section of the Starr Policy providing that Plaintiffs shall not admit or assume

                                                     liability, incur “Defense Costs”, enter into any settlement agreement or stipulate to any judgment

                                                     without the prior written consent of Starr.

                                                            10.     Starr affirmatively asserts that Plaintiffs did not comply with the General Terms

                                                     and Conditions Section of the Starr Policy requiring that Plaintiffs give written notice to Starr of

                                                     a “Claim” under the Directors and Officers Liability Coverage Section of the Starr Policy.

                                                            11.     Starr affirmatively asserts that under Endorsement 17, no coverage is afforded

                                                     under the Directors and Officers Liability Coverage Section of the Starr Policy for any “Loss” in

                                                     connection with any “Claim” based on, arising from, or in consequence of any actual or alleged
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                                                     liability of any Insured under any express contract or agreement, except to the extent that such

                                                     Insured would have been liable in the absence of such contract or agreement.

                                                            12.     Starr affirmatively asserts that under Exclusion 3(s) of the Directors and Officers

                                                     Liability Coverage Section of the Starr Policy, no coverage is afforded under the Directors and

                                                     Officers Liability Coverage Section of the Starr Policy for any “Loss” in connection with any


                                                     DEFENDANT STARR INDEMNITY AND LIABILITY COMPANY’S ANSWER
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                                                     “Claim” alleging, arising out of, based upon or attributable to the rendering of or failure to render

                                                     any professional service to a customer or client of the Insured.

                                                               13.   Starr affirmatively asserts that no coverage is afforded under the Crime Coverage

                                                     Section of the Starr Policy for the actions of Plaintiffs’ employees because the definition of

                                                     “Theft” is not met. More specifically, according to the Starr Policy, “Theft” is defined as

                                                     “unlawful taking of property to the deprivation of the Insured.” Here, the alleged unlawful

                                                     actions of Plaintiffs’ employees resulted in a deprivation to HUD not the Plaintiffs.

                                                               14.   Starr affirmatively asserts that under Exclusion (2) of the Crime Coverage Section

                                                     of the Starr Policy, no coverage is afforded under the Crime Coverage Section of the Starr Policy

                                                     for “Loss” caused by an “Employee” if the “Employee” had also committed “Theft” or any other

                                                     dishonest act prior to the effective date of the Starr Policy and the “Company” or any of its

                                                     partners, “Members”, “Managers”, officers, directors or trustees, not in collusion with the

                                                     “Employee”, learned of the “Theft” or dishonest act prior to the inception date of the Starr

                                                     Policy.

                                                               15.   Starr affirmatively asserts that under Exclusion (3) of the Crime Coverage Section

                                                     of the Starr Policy, no coverage is afforded for “Loss” resulting from “Theft” or any other

                                                     dishonest act committed by any of the Plaintiffs’ “Employees”, “Managers”, directors or

                                                     trustees, or authorized representatives, whether acting alone or in collusion with other persons, or
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                                                     while performing services for the “Company” or otherwise except where covered under the

                                                     Employee Theft Insuring Agreement.

                                                               16.   Starr affirmatively asserts that under Exclusion (6) of the Crime Coverage Section

                                                     of the Starr Policy, no coverage is afforded for “Loss” that is an indirect result of an

                                                     “Occurrence” covered by the Crime Coverage Section of the Starr Policy, including, but not


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                                                     limited to, “Loss” resulting from: (i) the “Company’s” inability to realize income that would

                                                     have been realized by the Company had there been no loss or damage to “Money”, “Securities”,

                                                     or “Other Property”; (ii) payment of damages of any type for which the “Company” is legally

                                                     liable. But Starr will pay compensatory damages arising directly from a “Loss” covered under

                                                     the Crime Coverage Section; (iii) payment of costs, fees or other expenses incurred by the

                                                     “Company” in establishing either the existence of or the amount of “Loss” under the Crime

                                                     Coverage Section, except when covered under Insuring Agreement K.

                                                             17.    Starr affirmatively asserts that under Condition (b)(1) of the Crime Coverage

                                                     Section of the Starr Policy, coverage as to any “Employee” terminates as soon as: the

                                                     “Company’s” Corporate Compliance, Ethics or Responsibility Officer, General Counsel, any

                                                     “Employee” of the Risk Management Department or Human Resources Department, or, any

                                                     corporate Vice President or above not in collusion with the” Employee”; or as soon as any of the

                                                     “Company’s” partners, “Managers”, “Members”, officers, directors, or trustees not in collusion

                                                     with the “Employee” learn of the “Theft” or any other dishonest act committed by the

                                                     “Employee” whether before or after the “Employee” becomes employed by the “Company”.

                                                             18.    In the strict alternative, should the Court find that coverage is or was owed, Starr

                                                     affirmatively denies the reasonableness of the damages sought by the Plaintiffs, including actual

                                                     damages, asserted, attorneys’ fees, costs, or otherwise.
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                                                             19.    Starr affirmatively denies it violated the Texas Deceptive Trade Practices Act

                                                     (“DTPA”) and that it received proper written notice of violation of the DTPA.

                                                             20.    Starr affirmatively denies that it violated Chapter 541 of the Texas Insurance

                                                     Code.




                                                     DEFENDANT STARR INDEMNITY AND LIABILITY COMPANY’S ANSWER
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                                                             21.    Starr affirmatively denies that it violated Chapter 542 of the Texas Insurance

                                                     Code.

                                                             22.    Plaintiffs’ statutory claims under Chapter 542 of the Texas Insurance Code are

                                                     barred because their contract claims fail.

                                                             23.    Starr affirmatively denies that it violated any duty of good faith and fair dealing.

                                                             24.    Starr affirmatively denies that Plaintiffs are entitled to compensatory, actual,

                                                     statutory, or exemplary damages.

                                                             25.    Starr affirmatively denies that Plaintiffs are entitled to attorneys’ fees and costs.

                                                             26.    To the extent that Plaintiffs pray for punitive damages, Starr invokes its rights

                                                     under the due process clause of the Fifth Amendment of the United States Constitution as

                                                     applied to the states through the Fourteenth Amendment of the United States Constitution. Starr

                                                     affirmatively pleads that Plaintiffs’ pleading of punitive and/or exemplary damages violates the

                                                     due process clauses of the Fifth and Fourteenth Amendments inasmuch as punitive and/or

                                                     exemplary damages can be assessed:


                                                                    1.      In an amount left to the discretion of the jury and judge;
                                                                    2.      Further, any party or representative thereof who is subject to any award, if
                                                                            any, does not have the right to refuse to testify against themselves, but
                                                                            must in fact take the stand and/or give deposition testimony or subject
                                                                            their company to the consequences of a default judgment;
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                                                                    3.      The assessment of such a punishment and/or exemplary award is not based
                                                                            upon a clearly defined statutory enactment setting forth a specific mens
                                                                            rea requirement and/or the prerequisites of criminal fine and in effect,
                                                                            allows the assessment of such awards even though there are no special
                                                                            standards, limits or other statutory requirements set forth that define the
                                                                            mens rea and scope and limit of such awards. Therefore, the awards are
                                                                            unduly vague and do not meet the requirements of due process; and




                                                     DEFENDANT STARR INDEMNITY AND LIABILITY COMPANY’S ANSWER
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                                                                    4.      In essence, Starr is subject to all of the hazards and risks of what in
                                                                            essence amounts to a fine, and in fact, such awards often exceed normal
                                                                            criminal fines, but Starr received none of the basic rights accorded to a
                                                                            criminal Starr when being subjected to possible criminal penalties.


                                                            27.     To the extent Plaintiffs pray for punitive damages, such request should be denied

                                                     as a violation of the equal protection rights guaranteed by the Fifth and Fourteenth Amendments

                                                     to the Constitution of the United States, the provisions of the Eighth Amendment to the

                                                     Constitution of the United States, and the Constitution of the State of Texas, Article 1,

                                                     Sections 13 and 19.

                                                            28.     Starr affirmatively asserts that Plaintiffs are not entitled to punitive damages;

                                                     however, in the alternative, if the Court makes an award of punitive damages such an award must

                                                     not violate Starr’s rights to due process by being arbitrary, unjust or grossly excessive. An award

                                                     of punitive damages must have a reasonable relationship to the harm to Plaintiffs and may not

                                                     constitute an improper taking by attempting to compensate alleged victims not before the court.

                                                            29.     Starr affirmatively asserts that Plaintiffs are not entitled to punitive damages;

                                                     however, in the alternative, if the Court makes an award of punitive damages, Starr affirmatively

                                                     asserts that any such award of punitive damages is subject to Texas Civil Practice and Remedies

                                                     Code Chapter 41 and all evidentiary standards, caps and limits on an award of punitive damages.

                                                                                                   III.
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                                                                                                 PRAYER

                                                            WHEREFORE, Defendant Starr respectfully prays that Plaintiffs take nothing and that

                                                     upon final hearing thereof, the Court enter judgment against Plaintiffs in favor of Starr, and that

                                                     Starr recover its costs, fees, expenses, and for such other and further relief, both at law and in

                                                     equity, to which Starr may justly be entitled.



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                                                                                                  Respectfully submitted:
                                                                                                  COZEN O’CONNOR



                                                                                                  By:
                                                                                                        Alissa K. Christopher
                                                                                                        State Bar No. 12587500
                                                                                                        1717 Main Street, Suite 3100
                                                                                                        Dallas, Texas 75201-7335
                                                                                                        Telephone: (214) 462-3036
                                                                                                        Telecopier: (214) 462-3299

                                                                                                  ATTORNEYS FOR STARR INDEMNITY
                                                                                                  AND LIABILITY COMPANY



                                                                                     CERTIFICATE OF SERVICE

                                                            This is to certify that a true and correct copy of the above document has been filed and
                                                     forwarded to all counsel of record pursuant to the Texas Rules of Civil Procedure on this the 14th
                                                     day of May, 2019:

                                                     Tracy Alan Saxe
                                                     Saxe Doernberger & Vita, P.C.
                                                     35 Nutmet Drive, Suite 140
                                                     Trumbull, CT 06611
                                                     Attorneys for Plaintiffs

                                                                                                  /s/ Alissa K. Christopher
                                                                                                  Alissa K. Christopher
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                                                     LEGAL\41090424\1




                                                     DEFENDANT STARR INDEMNITY AND LIABILITY COMPANY’S ANSWER
                                                     AND AFFIRMATIVE DEFENSES TO PLAINTIFFS’ ORIGINAL PETITION - Page 8
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                                                                         STARR INDEMNITY AND LIABILITY COMPANY
                                                                              399 Park Avenue, New York, NY 10022 • Tel. (646) 227-6377


                                                                                      RESOLUTE PORTFOLIOSM
                                                                                         For Private Companies

                                                                                                                         POLICY NUMBER: 1000057336161
                                                                                                                          RENEWAL OF: N/A

                                                     NOTICE (Applicable to all Coverage Sections Other Than the Crime and Fidelity Coverage Section):
                                                     EXCEPT TO SUCH EXTENT AS MAY OTHERWISE BE PROVIDED HEREIN, THE COVERAGE OF
                                                     THIS POLICY IS GENERALLY LIMITED TO LIABILITY FOR ONLY THOSE CLAIMS THAT ARE
                                                     FIRST MADE AGAINST THE INSUREDS DURING THE POLICY PERIOD AND REPORTED IN
                                                     WRITING TO THE INSURER PURSUANT TO THE TERMS HEREIN.

                                                     NOTICE (Applicable to all Coverage Sections Other Than the Crime and Fidelity Coverage Section) :
                                                     THE LIMIT OF LIABILITY AVAILABLE TO PAY JUDGMENTS OR SETTLEMENTS SHALL BE
                                                     REDUCED BY AMOUNTS INCURRED FOR DEFENSE COSTS. AMOUNTS INCURRED FOR DEFENSE
                                                     COSTS SHALL BE APPLIED AGAINST THE RETENTION AMOUNT.

                                                     NOTICE (Applicable to all Coverage Sections Other Than the Crime and Fidelity Coverage Section) :
                                                     THE INSURER HAS NO DUTY TO DEFEND ANY CLAIM UNDER THIS POLICY EXCEPT WITH
                                                     RESPECT TO ANY CLAIM FOR WHICH THE POLICY SPECIFICALLY STATES THAT DUTY TO
                                                     DEFEND COVERAGE IS PROVIDED.

                                                     NOTICE (Applicable to All Coverage Sections): PLEASE READ THIS POLICY CAREFULLY AND
                                                     DISCUSS THE COVERAGE HEREUNDER WITH YO UR INSURANCE AGENT OR BROKER.

                                                     ____________________________________________________________________________

                                                                                           DECLARATIONS - TEXAS

                                                     ITEM 1:    PARENT COMPANY:                  AHG Properties, LLC

                                                                ADDRESS:                        1980 Post Oak Blvd
                                                                                                Suite 2020
                                                                                                Houston, TX 77056

                                                     ITEM 2:    POLICY PERIOD:                   From: November 3, 2016                To: November 3, 2017
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                                                                                                 (12:01 a.m. Standard Time at the address stated in Item 1)

                                                     ITEM 3:    COVERAGE SECTIONS

                                                     This policy provides coverage only for the following Coverage Sections if purchased by the Insured and
                                                     indicated by an X.

                                                             Directors & Officers Liability Coverage Section                 Yes _X___           No ____
                                                              Derivative Demand Coverage                                     Yes _X___           No ____
                                                             Employment Practices Liability Coverage Section                 Yes ____            No _X___
                                                              Third-Party Liability Coverage                                 Yes ____            No _X___
                                                             Fiduciary Liability Coverage Section                            Yes ____            No _X___


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                                                                  Voluntary Compliance Program Coverage                         Yes ____     No _X___
                                                                 Crime and Fidelity Coverage Section                            Yes _X___    No ____

                                                      DECLARATIONS (continued)                                                       POLICY NO.: 1000057336161

                                                      ITEM 4: LIMITS OF LIABILITY

                                                      The Limits of Liability of this policy apply solely to the Coverage Section(s) for which a corresponding limit
                                                      of liability amount is set forth below.

                                                      A.         AGGREGATE LIMIT OF LIABILITY FOR EACH SEPARATE COVERAGE SECTION
                                                                 OTHER THAN THE CRIME AND FIDELITY COVERAGE SECTION

                                                      (i)
                                                              Separate Coverage Section: Directors & Officers Liability                     $1,000,000
                                                               Sublimit of Liability for Derivative Demand Coverage                         $250,000

                                                      (ii)
                                                              Separate Coverage Section: Employment Practices Liability                     N/A
                                                               Sublimit of Liability for Third-Party Liability Coverage                     N/A

                                                      (iii)
                                                              Separate Coverage Section: Fiduciary Liability                                N/A
                                                               Sublimit of Liability for Voluntary Compliance Program Coverage              N/A
                                                               Sublimit of Liability for HIPAA Claim Coverage                               N/A

                                                      Each Sublimit of Liability set forth in Item 4 A. above is part of, and not in addition to, the Limit of
                                                      Liability for the corresponding Separate Coverage Section.

                                                      B.         AGGREGATE LIMIT OF LIABILITY FOR EACH COMBINED COVERAGE SECTION
                                                                 OTHER THAN THE CRIME AND FIDELITY COVERAGE SECTION

                                                      (i)
                                                              Combined Coverage Section:
                                                              Directors & Officers Liability / Employment Practices Liability /
                                                              Fiduciary Liability                                                           N/A
                                                                Sublimit of Liability for Derivative Demand Coverage                        N/A
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                                                                Sublimit of Liability for Third-Party Liability Coverage                    N/A
                                                                Sublimit of Liability for Voluntary Compliance Program Coverage             N/A
                                                                Sublimit of Liability for HIPAA Claim Coverage                              N/A

                                                      (ii)
                                                              Combined Coverage Section:
                                                              Directors & Officers Liability / Employment Practices Liability               N/A
                                                               Sublimit of Liability for Derivative Demand Coverage                         N/A
                                                               Sublimit of Liability for Third-Party Liability Coverage                     N/A

                                                      (iii)
                                                              Combined Coverage Section:
                                                              Directors & Officers Liability / Fiduciary Liability                          N/A

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                                                              Sublimit of Liability for Derivative Demand Coverage                        N/A
                                                              Sublimit of Liability for Voluntary Compliance Program Coverage             N/A
                                                              Sublimit of Liability for HIPAA Claim Coverage                              N/A

                                                      DECLARATIONS (continued)                                                  POLICY NO.: 1000057336161


                                                      (iv)
                                                             Combined Coverage Section:
                                                             Employment Practices Liability / Fiduciary Liability                         N/A
                                                              Sublimit of Liability for Third-Party Liability Coverage                    N/A
                                                              Sublimit of Liability for Voluntary Compliance Program Coverage             N/A
                                                              Sublimit of Liability for HIPAA Claim Coverage                              N/A

                                                      Each Sublimit of Liability set forth in Item 4 B. above is part of, and not in addition to, the Limit of
                                                      Liability for the corresponding Combined Coverage Section.

                                                      The Limits of Liability set forth in Item 4 A. and B. above are the maximum limits of liability for all Loss
                                                      including Defense Costs, under the applicable Coverage Section(s).

                                                      C.      AGGREGATE POLICY LIMIT OF LIABILITY                                         $2,000,000

                                                      The above Limit of Liability set forth in Item 4 C. above is the maximum limit of liability for all Loss,
                                                      including Defense Costs, for all Coverage Sections purchased other than the Crime and Fidelity Coverage
                                                      Section.


                                                      D.       PER OCCURRENCE LIMIT OF LIABILITY- CRIME AND FIDELITY COVERAGE
                                                               SECTION

                                                      The Limits of Liability of this policy apply solely to the Crime and Fidelity Coverage Section(s) for
                                                      which a corresponding limit of liability amount is set forth below.

                                                      Crime and Fidelity Coverage Section:
                                                           (i)  Insuring Agreement A, Employee Theft                                      $1,000,000
                                                          (ii) Insuring Agreement B, Forgery or Alteration                                $1,000,000
                                                          (iii) Insuring Agreement C, Inside the Premises – Loss of Money                 $1,000,000
                                                                and Securities
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                                                          (iv) Insuring Agreement D, Inside the Premises - Robbery or Safe                $1,000,000
                                                                Burglary of Other Property
                                                          (v) Insuring Agreement E, Outside the Premises                                  $1,000,000
                                                          (vi) Insuring Agreement F, Computer Fraud                                       $1,000,000
                                                         (vii) Insuring Agreement G, Funds Transfer                                       $1,000,000
                                                         (viii) Insuring Agreement H, Money Orders and Counterfeit Money                  $1,000,000
                                                          (ix) Insuring Agreement I, Credit, Debit, Charge Card Forgery                   $100,000
                                                          (x) Insuring Agreement J, Clients’ Property                                     N/A
                                                          (xi) Insuring Agreement K, Investigative Expense Incurred to                    N/A
                                                                Establish Amount of Covered Loss




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                                                      DECLARATIONS (continued)                                                  POLICY NO.: 1000057336161

                                                      ITEM 5:        RETENTION OR DEDUCTIBLE AMOUNTS
                                                                                           RETENTION AMOUNTS
                                                      A. Directors & Officers Liability Coverage Section:
                                                          (i) Insuring Agreement A.                                                  $0
                                                          (ii) Insuring Agreement B. and C.                                          $25,000
                                                          (iii) Insuring Agreement D.                                                $0

                                                      B. Employment Practices Liability Coverage Section:
                                                          (i) Insuring Agreement A. - Employment Practices Liability Coverage        N/A
                                                          (ii) Insuring Agreement B. - Third-Party Liability Coverage                N/A

                                                      C. Fiduciary Liability Coverage Section:
                                                          (i) Insuring Agreement A. - Fiduciary Liability Coverage
                                                                 All Claims, except HIPAA Claims                                     N/A
                                                                 HIPAA Claims                                                        N/A
                                                          (ii) Insuring Agreement B. - Voluntary Compliance Program Coverage         N/A

                                                                                             DEDUCTIBLE AMOUNTS
                                                      D. Crime and Fidelity Coverage Section:
                                                           (i)  Insuring Agreement A, Employee Theft                                 $10,000
                                                           (ii) Insuring Agreement B, Forgery or Alteration                          $10,000
                                                          (iii) Insuring Agreement C, Inside the Premises – Loss of Money            $10,000
                                                                and Securities
                                                          (iv) Insuring Agreement D, Inside the Premises - Robbery or Safe           $10,000
                                                                Burglary of Other Property
                                                           (v) Insuring Agreement E, Outside the Premises                            $10,000
                                                          (vi) Insuring Agreement F, Computer Fraud                                  $10,000
                                                          (vii) Insuring Agreement G, Funds Transfer                                 $10,000
                                                         (viii) Insuring Agreement H, Money Orders and Counterfeit Money             $10,000
                                                          (ix) Insuring Agreement I, Credit, Debit, Charge Card Forgery              $10,000
                                                           (x) Insuring Agreement J, Clients’ Property                               N/A
                                                          (xi) Insuring Agreement K, Investigative Expense Incurred to               N/A
                                                                Establish Amount of Covered Loss
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                                                      ITEM 6:        PENDING OR PRIOR DATE
                                                      A. Directors & Officers Liability Coverage Section:
                                                          (i) Insuring Agreement A.                                               November 4, 2015
                                                          (ii) Insuring Agreement B. and C.                                       November 4, 2015

                                                      B. Employment Practices Liability Coverage Section:
                                                          (i) Insuring Agreement A - Employment Practices Liability Coverage       Not Applicable
                                                          (ii) Insuring Agreement B. – Third-Party Liability Coverage              Not Applicable

                                                      C. Fiduciary Liability Coverage Section:
                                                          (i) Fiduciary Liability Coverage                                         Not Applicable

                                                      D. Crime and Fidelity Coverage Section:                                   Not Applicable

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                                                      DECLARATIONS (continued)                                                POLICY NO.: 1000057336161

                                                      ITEM 7:        PREMIUM
                                                         A. Directors & Officers Liability Coverage Section:
                                                          B. Employment Practices Liability Coverage Section:                  N/A
                                                          C. Fiduciary Liability Coverage Section:                             N/A
                                                          D. Crime and Fidelity Coverage Section:
                                                          E. Total Policy Premium:

                                                      ITEM 8:         DISCOVERY PERIOD (APPLICABLE TO ALL COVERAGE SECTIONS
                                                                      OTHER THAN CRIME AND FIDELITY)

                                                                      A.       One Year: 150% of the applicable premium
                                                                      B.       Two Years: 200% of the applicable premium

                                                                      C.       Three Years: 250% of the applicable premium

                                                      ITEM 9:         ADDRESS OF INSURER AND ITS AUTHORIZED CLAIMS AGENT FOR
                                                                      NOTICES UNDER THIS POLICY

                                                                      A.       Claims-Related Notices

                                                                               STARR ADJUSTMENT SERVICES, INC.
                                                                               399 PARK AVENUE, 9TH FLOOR
                                                                               NEW YORK, NY 10022

                                                                               e-mail: StarrFLPLClaims@starrcompanies.com

                                                                      B.       All Other Notices To The Insurer:

                                                                               STARR INDEMNITY AND LIABILITY COMPANY
                                                                               ATTN: FINANCIAL LINES DEPARTMENT
                                                                               399 PARK AVE. 8TH FLOOR
                                                                               NEW YORK, NY 10022
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                                                      In Witness Whereof, the Insurer has caused this policy to be executed and attested. This policy shall not
                                                      be valid unless countersigned by a duly authorized representative of the Insurer.



                                                                Charles H. Dangelo, President                             Honora M. Keane, General Counsel




                                                                                                                              Authorized Representative


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                                                                                STARR INDEMNITY AND LIABILITY COMPANY
                                                       ___________________________________________________________________________

                                                                                       RESOLUTE PORTFOLIOSM
                                                                                         For Private Companies

                                                                                       General Terms & Conditions Section

                                                       In consideration of the payment of the premium and in reliance upon the Application, as applicable to
                                                       each Coverage Section, which shall be deemed to be attached to, incorporated into, and made a part of
                                                       this policy, and subject to this General Terms & Conditions Section and any applicable Coverage
                                                       Section(s), if purchased by the Insured as indicated in Item 3 of the Declarations, STARR
                                                       INDEMNITY AND LIABILITY COMPANY (the “Insurer”) and the Parent Company, on behalf
                                                       of all Insureds, agree as follows:

                                                       1.      TERMS & CONDITIONS

                                                               The terms and conditions set forth in this General Terms & Conditions Section shall apply to
                                                               all applicable Coverage Sections of this policy. The terms appearing in this General Terms &
                                                               Conditions Section, which are defined in a Coverage Section, shall have the meaning
                                                               provided for such terms in such Coverage Section for purposes of coverage under such
                                                               Coverage Section. All defined terms used in this Policy, whether defined in Clause 2, below,
                                                               or in a Coverage Section, appear in this Policy in boldface and initial-capitalized. The terms
                                                               and conditions of each Coverage Section apply only to that particular Coverage Section. If
                                                               any term or condition in this General Terms & Conditions Section is inconsistent or in
                                                               conflict with the terms and conditions of any Coverage Section, the terms and conditions of
                                                               such Coverage Section shall control.

                                                       2.      GENERAL DEFINITIONS

                                                               (a)      “Application” means all signed applications, including any attachments and other
                                                                        materials provided therewith or incorporated therein, submitted in connection with
                                                                        the underwriting of this policy or for any other policy of which this policy is a
                                                                        renewal, replacement or which it succeeds in time. Application shall also include,
                                                                        and incorporate, all publicly available documents.

                                                               (b)      “Cleanup Costs” means expenses (including but not limited to legal and professional
                                                                        fees) incurred in testing for, monitoring, cleaning up, removing, containing, treating,
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                                                                        neutralizing, detoxifying or assessing the effects of Pollutants.

                                                               (c)      “Company” means:

                                                                        (1)      the Parent Company;

                                                                        (2)      any Subsidiary of the Parent Company; and

                                                                        (3)      the Parent Company or any Subsidiary as a debtor, a debtor-in-possession
                                                                                 or equivalent status;

                                                                                 provided, however, that this Definition (c) (3) shall not apply to the Fiduciary
                                                                                 Liability Coverage Section.

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                                                               (d)      “Defense Costs” means:

                                                                        (1)     reasonable and necessary fees, costs, charges or expenses resulting from the
                                                                                investigation, defense or appeal of a Claim;

                                                                        (2)     premium for an appeal, attachment or similar bond, but without any
                                                                                obligation to apply for and obtain such bond;

                                                                        (3)     reasonable and necessary fees, costs, charges or expenses incurred in
                                                                                response to any extradition or similar proceeding brought against an Insured
                                                                                in connection with a Claim; and

                                                                        (4)     any fees, costs, charges or expenses incurred by the Insured at the specific
                                                                                request of the Insurer to assist the Insurer in the investigation, defense or
                                                                                appeal of a Claim.

                                                                        “Defense Costs” does not include: (i) amounts incurred prior to the date a Claim is
                                                                        first made and reported to the Insurer, pursuant to the terms of the applicable
                                                                        Coverage Section; and (ii) compensation or benefits of any Insured Person or any
                                                                        overhead expenses of the Company.

                                                               (e)      “Financial Impairment” means the Company becoming a debtor-in-possession, or
                                                                        the appointment of a receiver, conservator, liquidator, trustee, rehabilitator or similar
                                                                        official to control, supervise, manage or liquidate the Company.

                                                               (f)      “Management Control” means: (1) owning interests representing more than 50% of
                                                                        the voting, appointment or designation power for the selection of a majority of: the
                                                                        board of directors of a corporation; the management committee members of a joint
                                                                        venture; or the Members of the management board of a limited liability company; or
                                                                        (2) having the right, pursuant to written contract or the by-laws, charter, operating
                                                                        agreement or similar documents of a Company, to elect, appoint or designate a
                                                                        majority of: the board of directors of a corporation; the management committee of a
                                                                        joint venture; or the management board of a limited liability company.

                                                               (g)      “Manager” means a person serving in a directorial capacity for a limited liability
                                                                        company.

                                                               (h)      “Member” means an owner of a limited liability company represented by its
                                                                        membership interest, who also may serve as a Manager.

                                                               (i)      “Parent Company” means the entity named in Item 1 of the Declarations.

                                                               (j)      “Policy Period” means the period from the inception date shown in Item 2 of the
                                                                        Declarations to the earlier of the expiration date shown in Item 2 of the Declarations
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                                                                        or the effective date of cancellation of this policy. If one or more Coverage Sections
                                                                        have different inception, expiration or cancellation dates from those shown in Item 2
                                                                        of the Declarations, the Policy Period for those Coverage Sections shall be set forth
                                                                        in an endorsement to this Policy.

                                                               (k)      “Pollutants” means any substance located anywhere in the world exhibiting any
                                                                        hazardous characteristics as defined by, or identified on, any list of hazardous
                                                                        substances issued by the United States Environmental Protection Agency or any
                                                                        foreign, state, county, municipality, or locality counterpart thereof. Such substances
                                                                        shall include, without limitation, nuclear material or waste, any solid, liquid, gaseous
                                                                        or thermal irritant or contaminant, or smoke, vapor, soot, fumes, acids, alkalis,



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                                                                        chemicals or waste materials. Pollutants shall also mean any other air emission,
                                                                        odor, waste water, oil or oil products, infectious or medical waste, asbestos or
                                                                        asbestos products and any noise.
                                                               (l)      “Pollution” means the actual, alleged or threatened discharge, dispersal, release,
                                                                        escape, seepage, transportation, emission, treatment, removal or disposal of
                                                                        Pollutants into or on real or personal property, water or the atmosphere. Pollution
                                                                        also means any Cleanup Costs.

                                                       3.      LIMITS OF LIABILITY

                                                               The Aggregate Limit of Liability For Each Separate Coverage Section, as set forth in Item 4
                                                               A. of the Declarations, is the maximum limit of liability of the Insurer for all Loss, including
                                                               Defense Costs, from all Claims first made during the Policy Period (or Discovery Period, if
                                                               applicable) and reported to the Insurer in accordance with the terms of this policy, for each
                                                               applicable Separate Coverage Section.

                                                               The Aggregate Limit of Liability For Each Combined Coverage Section, as set forth in Item 4
                                                               B. of the Declarations, is the maximum limit of liability of the Insurer for all Loss, including
                                                               Defense Costs, from all Claims first made during the Policy Period (or Discovery Period, if
                                                               applicable) and reported to the Insurer in accordance with the terms of this policy, for all of
                                                               the Coverage Sections that comprise the applicable Combined Coverage Section. Any Loss
                                                               paid under one of the Coverage Sections that comprises a Combined Coverage Section will
                                                               reduce, and may exhaust, the limit of liability available under the other Coverage Section(s)
                                                               that comprise(s) such Combined Coverage Section.

                                                               Any Sublimit(s) of Liability, whether set forth in Item 4 of the Declarations or as otherwise
                                                               provided under the terms of this policy, shall be part of, and not in addition to, the applicable
                                                               Aggregate Limit of Liability set forth in Item 4 A. or 4 B. of the Declarations. Each Sublimit
                                                               of Liability is the maximum limit of liability of the Insurer for all Loss, including Defense
                                                               Costs, from all Claims first made during the Policy Period (or Discovery Period, if
                                                               applicable) and reported to the Insurer in accordance with the terms of this policy, to which
                                                               the Sublimit(s) of Liability applies.

                                                               The Aggregate Policy Limit of Liability, as set forth in Item 4 C. of the Declarations, is the
                                                               maximum limit of liability of the Insurer for all Loss, including Defense Costs, from all
                                                               Claims first made during the Policy Period (or Discovery Period, if applicable) and reported
                                                               to the Insurer in accordance with the terms of this policy, for all Coverage Section(s)
                                                               combined.

                                                               If any Aggregate Limit of Liability as set forth in Item 4 A. or 4 B. of the Declarations is
                                                               exhausted by the payment of Loss, all obligations of the Insurer under this policy as respects
                                                               the applicable Coverage Section(s) will be completely fulfilled and the Insurer will have no
                                                               further obligations under this policy of any kind as respects the applicable Coverage
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                                                               Section(s) and the premium as respects the applicable Coverage Section(s) as set forth in Item
                                                               7 of the Declarations will be fully earned.

                                                               Any payment of Loss under any Aggregate Limit of Liability as set forth in Item 4 A. or 4 B.
                                                               of the Declarations shall reduce and may exhaust the Aggregate Policy Limit of Liability as
                                                               set forth in Item 4 C. of the Declarations. If the Aggregate Policy Limit of Liability is
                                                               exhausted by the payment of such Loss, the Insurer will have no further obligations of any
                                                               kind as respects this policy and the applicable premium set forth in Item 7 of the Declarations
                                                               will be fully earned.

                                                               Defense Costs are part of, and not in addition to, the Aggregate Limit of Liability as set forth
                                                               in Item 4 of the Declarations for each applicable Coverage Section, other than the Crime and


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                                                               Fidelity Coverage Section, and payment by the Insurer of Defense Costs shall reduce and
                                                               may exhaust such Aggregate Limit(s) of Liability. Defense Costs are subject to the Aggregate
                                                               Policy Limit of Liability set forth in Item 4 C. of the Declarations.

                                                               If a Discovery Period is purchased by the Insured pursuant to Clause 8 of this General Terms
                                                               & Conditions Section, the Limit of Liability for the Discovery Period shall be part of, and not
                                                               in addition to, the applicable Limits of Liability as set forth in Item 4 of the Declarations.

                                                               The Limit of Liability applicable to the Crime and Fidelity Coverage Section is set forth in
                                                               Clause 4 of that Coverage Section.

                                                       4.      RETENTION CLAUSE

                                                               Subject to all other terms and conditions of this policy, the Insurer shall only be liable for the
                                                               amount of Loss arising from a Claim which is in excess of the applicable Retention amount
                                                               as set forth in Item 5 of the Declarations for each Insuring Agreement of the applicable
                                                               Coverage Section(s). A single Retention amount shall apply to all Loss alleging the same or
                                                               related Wrongful Acts. The Retention amount shall be borne by the Insureds and remain
                                                               uninsured.

                                                               The application of a Retention to Loss under one Insuring Agreement shall not reduce the
                                                               Retention that applies to Loss under any other Insuring Agreement. If different Retention
                                                               amounts apply to different parts of a single Loss, the applicable Retention shall be applied
                                                               separately to each part of the Loss and the sum of such Retention amounts shall not exceed
                                                               the largest of the applicable Retention amounts as set forth in Item 5 of the Declarations.

                                                               If the Company is required or permitted to indemnify an Insured Person for any Loss
                                                               pursuant to law, contract or the charter, bylaws, operating agreement or similar documents of
                                                               a Company and does not do so for any reason, the Insurer shall not require payment of the
                                                               applicable Retention by the Insured Person. However, the Company hereby agrees to
                                                               reimburse the Insurer for the full amount of such applicable Retention, unless the Company
                                                               is unable to do so because of Financial Impairment.

                                                               Provided, however that this Clause No. 4, shall not apply to the Crime and Fidelity Coverage
                                                               Section.

                                                       5.      NOTICE OF CLAIM

                                                               The Insured(s) shall, as a condition precedent to the obligations of the Insurer under this
                                                               policy, give written notice of a Claim made against an Insured or an Occurrence, as
                                                               applicable under the appropriate Coverage Section, to the Insurer at the address set forth in
                                                               Item 9 of the Declarations. If mailed, the date of mailing shall constitute the date that such
                                                               notice was given and proof of mailing shall be sufficient proof of notice.
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                                                               With respect to the Directors & Officers Liability Coverage Section, the Insured(s) shall, as a
                                                               condition precedent to the obligations of the Insurer under this policy, give written notice to
                                                               the Insurer pursuant to this Clause 5, of a Claim made against an Insured as soon as
                                                               practicable after the Company's general counsel or risk manager (or individuals with
                                                               equivalent responsibilities) becomes aware of the Claim; however, in no event shall such
                                                               notice be provided later than sixty (60) days after the expiration of the Policy Period (or
                                                               Discovery Period, if applicable).

                                                               With respect to the Employment Practices Liability Coverage Section and the Fiduciary
                                                               Liability Coverage Section, the Insured(s) shall, as a condition precedent to the obligations of
                                                               the Insurer under this policy, give written notice to the Insurer pursuant to this Clause 5, of



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                                                               a Claim made against an Insured as soon as practicable after any Insured Person becomes
                                                               aware of the Claim; however, in no event shall such notice be provided later than thirty (30)
                                                               days after the expiration of the Policy Period (or Discovery Period, if applicable).

                                                               With respect to all Coverage Sections, except the Crime and Fidelity Coverage Section, if
                                                               written notice of a Claim has been given to the Insurer pursuant to this Clause 5, then a
                                                               Claim which is subsequently made against an Insured and reported to the Insurer pursuant
                                                               to this Clause 5, alleging, arising out of, based upon or attributable to the facts alleged in the
                                                               previously noticed Claim, or alleging the same or related Wrongful Act alleged in the
                                                               previously noticed Claim, shall be considered related to the previously noticed Claim and
                                                               shall be deemed to have been made at the time notice of the previously noticed Claim was
                                                               provided to the Insurer.

                                                               With respect to all Coverage Sections, except the Crime and Fidelity Coverage Section, if
                                                               during the Policy Period (or Discovery Period, if applicable) an Insured becomes aware of
                                                               any circumstances which may reasonably be expected to give rise to a Claim being made
                                                               against an Insured, the Insured may provide written notice to the Insurer’s authorized agent
                                                               of such circumstances. This written notice shall include the Wrongful Act allegations
                                                               anticipated and the reasons for anticipating a Claim, with full particulars as to dates, persons
                                                               and entities involved. If a Claim is subsequently made against such Insured and reported to
                                                               the Insurer arising out of, based upon or attributable to the previously noticed circumstances,
                                                               such Claim shall be considered first made at the time notice of such circumstances was
                                                               provided to the Insurer.

                                                       6.      DEFENSE OF CLAIM AND SETTLEMENT

                                                               The Insurer has the right and duty to defend any Claim against any Insured covered under
                                                               this policy, even if such Claim is false, fraudulent or groundless; however, the Insurer shall
                                                               not have the right or duty to defend any Claim under: (1) Insuring Agreement D.: Derivative
                                                               Demand Coverage of the Directors & Officers Liability Coverage Section; or (2) Insuring
                                                               Agreement B: Voluntary Compliance Program Coverage of the Fiduciary Liability Coverage
                                                               Section.

                                                               With respect to Insuring Agreement D.: Derivative Demand Coverage of the Directors &
                                                               Officers Liability Coverage Section, the Company, and not the Insurer, has the duty to
                                                               investigate and evaluate the Derivative Demand. The Insurer shall have the right to
                                                               effectively associate with the Company in such process.

                                                               With respect to Insuring Agreement B: Voluntary Compliance Program Coverage of the
                                                               Fiduciary Liability Coverage Section, the Company, and not the Insurer, has the duty to
                                                               investigate and evaluate the Voluntary Compliance Program Loss. The Insurer shall have
                                                               the right to effectively associate with the Company in such process, including the negotiation
                                                               of any settlement as respects the Voluntary Compliance Program Loss.
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                                                               The Insured(s) shall not admit or assume any liability, incur any Defense Costs, enter into
                                                               any settlement agreement or stipulate to any judgment without the prior written consent of the
                                                               Insurer. Any Loss incurred by the Insured(s) and/or any settlements or judgments agreed to
                                                               by the Insured(s) without such consent shall not be covered by this policy. However, the
                                                               Insurer’s consent is not required for the Insured to settle a Claim for a Loss amount within
                                                               the applicable Retention.

                                                               Each and every Insured shall give the Insurer full cooperation and such information as it
                                                               may reasonably require relating to the defense and settlement of any Claim and the
                                                               prosecution of any counterclaim, cross-claim or third-party claim, including without
                                                               limitation the assertion of an Insured’s indemnification or contribution rights.


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                                                               The Insurer shall have the right to investigate and conduct negotiations and, with the
                                                               Insured’s consent, which shall not be unreasonably withheld, enter into the settlement of any
                                                               Claim that the Insurer deems appropriate. In the event the Insured refuses to consent to a
                                                               settlement acceptable to the claimant in accordance with the Insurer’s recommendation, the
                                                               Insurer’s liability for Loss on account of such Claim shall not exceed: (1) the amount for
                                                               which the Insurer could have settled the Claim; plus (2) any Defense Costs incurred up to
                                                               the date the Insured refused to settle such Claim; plus (3) eighty percent (80%) of covered
                                                               Loss, other than Defense Costs, in excess of the amount for which the Insurer could have
                                                               settled the Claim. However, in no event shall the Insurer’s liability exceed the applicable
                                                               Limit of Liability as set forth in Item 4 of the Declarations.

                                                               The Insurer shall pay Defense Costs prior to the final disposition of any Claim, excess of the
                                                               applicable retention and subject to all other terms and conditions of this policy. In the event
                                                               and to the extent that the Insureds shall not be entitled to payment of such Loss under the
                                                               terms and conditions of this policy, such payments by the Insurer shall be repaid to the
                                                               Insurer by the Insureds, severally according to their respective interests.

                                                       7.      ALLOCATION

                                                               In the event the Insured(s) incurs Loss that is both covered and not covered by this policy,
                                                               either because the Claim includes both covered and uncovered matters or because the Claim
                                                               includes both insured and uninsured parties, the Insured and the Insurer agree to use their
                                                               best efforts to determine a fair and appropriate allocation between covered and uncovered
                                                               Loss based upon the relative legal and financial exposures of the parties to such matters. In
                                                               the event of a settlement of such Claim, the allocation shall also be based upon the relative
                                                               benefits to the Insureds from such a settlement.

                                                               If an allocation of Loss cannot be agreed to by the Insurer and the Insured: (1) the Insurer
                                                               shall pay those amounts which it believes to be fair and equitable until an amount shall be
                                                               agreed upon or determined pursuant to the provisions of this policy; and (2) there will be no
                                                               presumption of allocation of Loss in any arbitration, suit or other proceeding.

                                                       8.      DISCOVERY CLAUSE

                                                               With respect to all Coverage Sections, except the Crime and Fidelity Coverage Section, if the
                                                               Company or the Insurer refuses to renew one or more Coverage Sections of this policy, or if
                                                               this policy is terminated by the Insurer for any reason (except for non-payment of premium),
                                                               or if an Organizational Change as defined in Clause 13 occurs, the Insured(s) shall have the
                                                               right to purchase a Discovery Period of up to six years following the effective date of such
                                                               non-renewal, termination or Organizational Change. In the event of the non-renewal of one
                                                               or more Coverage Sections of this policy, the Insured may purchase a Discovery Period
                                                               solely as respects the Coverage Section(s) that has been non-renewed.

                                                               The Insured’s right to purchase a Discovery Period shall lapse unless written notice of
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                                                               election to purchase such Discovery Period and the additional premium for such Discovery
                                                               Period is received by the Insurer or its authorized agent within sixty days after such non-
                                                               renewal, termination or Organizational Change. The additional premium for a Discovery
                                                               Period of one or two years is set forth in Item 8 of the Declarations and shall be determined
                                                               by multiplying the applicable percentage set forth in Item 8 of the Declarations by the
                                                               premium for each applicable Coverage Section(s) as set forth in Item 7 of the Declarations.
                                                               The additional premium for a Discovery Period of more than two years shall be determined
                                                               by the Insurer.

                                                               During such Discovery Period, the Insured may provide the Insurer with written notice,
                                                               pursuant to Clause 5 of this policy, of Claims made against an Insured solely with respect to


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                                                               Wrongful Acts occurring prior to the effective date of the non-renewal or termination of the
                                                               policy or the effective date of the Organizational Change and otherwise covered by this
                                                               policy.

                                                               The Limit of Liability for the Discovery Period shall be part of, and not in addition to, the
                                                               applicable Limits of Liability set forth in Item 4 of the Declarations.

                                                               The Discovery Period premium shall be fully earned at the inception of the Discovery Period.
                                                               The Discovery Period is non-cancellable.

                                                       9.      OTHER INSURANCE

                                                               The insurance provided by this policy shall apply only as excess over any other valid and
                                                               collectible insurance whether such other insurance is stated to be primary, contributory,
                                                               excess, contingent or otherwise, unless such other insurance is written specifically as excess
                                                               insurance over the applicable Limit of Liability provided by this policy. This policy shall
                                                               specifically be excess of any other valid and collectible insurance pursuant to which any other
                                                               insurer has a duty to defend a Claim for which this policy may be obligated to pay Loss. This
                                                               policy shall not be subject to the terms and conditions of any other insurance policy.

                                                               In connection with any covered Claim made against an Outside Entity Insured Person, a
                                                               leased employee, or an Independent Contractor, and subject to all other terms and
                                                               conditions herein, this policy shall apply specifically excess of any indemnification and any
                                                               other insurance coverage available to an Outside Entity Insured Person, a leased employee
                                                               or an Independent Contractor. In the event such other insurance coverage available to an
                                                               Outside Entity Insured Person, a leased employee or an Independent Contractor is
                                                               provided by the Insurer (or would be provided except for the application of any retention,
                                                               exhaustion of a limit of liability or failure to submit notice of a claim) then the Insurer’s
                                                               maximum aggregate limit of liability for all Loss combined in connection with a Claim
                                                               covered, in whole or in part, by this policy and such other insurance policy, shall be the
                                                               greater of (1) the Limit of Liability of the applicable Coverage Section(s) of this policy; or (2)
                                                               the limit of liability of such other insurance policy.

                                                       10.     REPRESENTATIONS AND SEVERABILITY

                                                               It is agreed that the Insurer has relied upon the information contained in the Application, as
                                                               applicable to each Coverage Section, in issuing this policy. In regard to the statements,
                                                               warranties, representations and information contained in the Application, no knowledge of
                                                               any Insured shall be imputed to any other Insured for the purpose of determining whether
                                                               coverage is available under this policy for any Claim made against such Insured. However,
                                                               the knowledge possessed by any Insured Person who is a past or current chairman of the
                                                               board, chief executive officer, president or chief financial officer of the Company shall be
                                                               imputed to the Company.
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                                                       11.     COVERAGE EXTENSIONS

                                                               This policy shall cover Loss arising from any Claims made against the estates, heirs, or legal
                                                               representatives of any deceased person who was an Insured Person at the time the Wrongful
                                                               Acts upon which such Claims are based were committed; provided, however, that this
                                                               extension shall not afford coverage for any Claim for any actual or alleged Wrongful Act by
                                                               or on the part of any such estates, heirs, or legal representatives, but shall apply only to
                                                               Claims arising out of any actual or alleged Wrongful Acts of an Insured Person.

                                                               This policy shall also cover Loss arising from any Claims made against the legal
                                                               representatives of any incompetent, insolvent or bankrupt person who was an Insured Person



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                                                               at the time the Wrongful Acts upon which such Claims are based were committed; provided,
                                                               however, that this extension shall not afford coverage for any Claim for any actual or alleged
                                                               Wrongful Act by or on the part of any such legal representatives, but shall apply only to
                                                               Claims arising out of any actual or alleged Wrongful Acts of an Insured Person.

                                                               This policy shall also cover Loss arising from any Claims made against the lawful spouse or
                                                               domestic partner (whether such status is derived by reason of statutory law, common law or
                                                               otherwise of any applicable jurisdiction in the world or any formal program established by the

                                                               Company) of an Insured Person for all Claims arising solely out of his or her status as the
                                                               spouse or domestic partner of an Insured Person, including a Claim that seeks damages
                                                               recoverable from marital community property, property jointly held by the Insured Person
                                                               and the spouse or domestic partner, or property transferred from the Insured Person to the
                                                               spouse or domestic partner; provided, however, that this extension shall not afford coverage
                                                               for any Claim for any actual or alleged Wrongful Act by or on the part of the spouse or
                                                               domestic partner, but shall apply only to Claims arising out of any actual or alleged
                                                               Wrongful Acts of an Insured Person.

                                                               The coverage extensions set forth in this Clause 11 are subject to all other terms and
                                                               conditions of this policy.

                                                       12.     CANCELLATION AND NON RENEWAL CLAUSE

                                                               This policy, or any applicable Coverage Section(s), may be cancelled by the Parent
                                                               Company by sending written prior notice to the Insurer or its authorized agent as set forth in
                                                               Item 9 of the Declarations stating when thereafter the cancellation of the policy, or the
                                                               applicable Coverage Section(s), shall be effective. The policy, or the applicable Coverage
                                                               Section(s), terminates at the date and hour specified in such notice. This policy may also be
                                                               cancelled by the Parent Company by surrender of this policy to the Insurer or its authorized
                                                               agent as set forth in Item 9 of the Declarations. The policy terminates as of the date and time
                                                               of surrender. The Insurer shall retain the customary short rate proportion of the premium,
                                                               unless stated otherwise herein.

                                                               This policy, or any applicable Coverage Section(s), shall not be cancelled by or on behalf of
                                                               the Insurer except by reason of non-payment of the premium set forth in Item 7 of the
                                                               Declarations. The Insurer may cancel the policy by delivering to the Parent Company or
                                                               by mailing to the Parent Company, by registered mail, or by courier at the Parent
                                                               Company's address set forth in the Declarations, written notice stating when, not less than
                                                               twenty (20) days thereafter, the cancellation shall be effective. The mailing of such notice as
                                                               aforesaid shall be sufficient proof of notice. In the event of such cancellation, the policy will
                                                               be deemed terminated as of the date indicated in the Insurer’s written notice of cancellation
                                                               to the Parent Company.

                                                               Payment or tender of any unearned premium by the Insurer shall not be a condition
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                                                               precedent to the effectiveness of cancellation, but such payment shall be made as soon as
                                                               practicable. If the period of limitation relating to the giving of notice is prohibited or made
                                                               void by any law controlling the construction thereof, such period shall be deemed to be
                                                               amended so as to be equal to the minimum period of limitation permitted by such law.

                                                               The Insurer shall have no obligation to renew this policy or any applicable Coverage Section.
                                                               In the event the Insurer decides to non-renew this policy or any applicable Coverage Section,
                                                               it shall deliver or mail to the Parent Company, as identified in Item 1 of the Declarations,
                                                               written notice of such decision at least sixty (60) days prior to the expiration of the Policy
                                                               Period.




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                                                       13.     ORGANIZATIONAL CHANGES

                                                               If during the Policy Period:

                                                               (1)      the Parent Company shall consolidate with, merge into, or sell all or substantially all
                                                                        of its assets to any other person or entity or group of persons or entities acting in
                                                                        concert; or

                                                               (2)      any person or entity or group of persons or entities acting in concert shall acquire
                                                                        more than 50% of the Parent Company,

                                                               (any events described in (1) or (2) are referred to herein as an “Organizational Change”)
                                                               then this policy shall continue in full force and effect as to Wrongful Acts occurring prior to
                                                               the effective time of an Organizational Change. However, there shall be no coverage
                                                               afforded by this policy for any actual or alleged Wrongful Act occurring after the effective
                                                               time of the Organizational Change. This policy shall be non-cancellable and the entire
                                                               premium shall be deemed fully earned upon the effective time of the Organizational
                                                               Change. The Insured(s) shall also have the right to purchase a Discovery Period described in
                                                               Clause 8 in the event of an Organizational Change.

                                                               The Parent Company shall give the Insurer written notice of the Organizational Change
                                                               as soon as practicable, but no later than thirty days after the effective date of the
                                                               Organizational Change.

                                                       14.     AUTHORIZATION AND NOTICES

                                                               The Parent Company shall act on behalf of all Insureds with respect to all matters as
                                                               respects this policy including: (1) giving of notice of Claim; (2) giving and receiving of all
                                                               correspondence and information; (3) giving and receiving notice of cancellation; (4) payment
                                                               of premiums; (5) receiving of any return premiums; (6) receiving and accepting of any
                                                               endorsements issued to form a part of this policy; and (7) the exercising of any right to a
                                                               Discovery Period.

                                                       15.     VALUATION AND CURRENCY

                                                               All amounts stated in this policy are expressed in United States dollars and all amounts
                                                               payable under this policy are payable in United States dollars. If a judgment rendered or
                                                               settlement entered into under this policy are stated in a currency other than United States
                                                               dollars, then payment under this policy shall be made in United States dollars at the rate of
                                                               exchange published in the Wall Street Journal on the date the final judgment is rendered or
                                                               the settlement payment is established.

                                                       16.     TERRITORY
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                                                               This policy extends to Wrongful Acts taking place, Occurrences, or Claims made anywhere
                                                               in the world to the extent permitted by law.

                                                       17.     ASSIGNMENT AND CHANGES TO THE POLICY

                                                               This policy and any and all rights hereunder are not assignable without the prior written
                                                               consent of the Insurer.

                                                               Notice to any agent or knowledge possessed by any agent or person acting on behalf of the
                                                               Insurer, other than the Insurer’s authorized agent as identified in Item 9 of the Declarations,
                                                               will not result in a waiver or change in any part of this policy or prevent the Insurer from



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                                                               asserting any right under the terms and conditions of this policy. The terms and conditions of
                                                               this policy may only be waived or changed by written endorsement signed by the Insurer or
                                                               its authorized agent.

                                                       18.     BANKRUPTCY

                                                               Bankruptcy or insolvency of any Insured shall not relieve the Insurer of any of its
                                                               obligations hereunder.

                                                               It is understood and agreed that the coverage provided under this policy is intended to protect
                                                               and benefit the Insured Persons. Further, if a liquidation or reorganization proceeding
                                                               involving the Company is commenced (whether voluntarily or involuntarily) under Title 11
                                                               of the United States Code (as amended), or any similar state, local or foreign law (collectively
                                                               “Bankruptcy Law”) then, in regard to a covered Claim under this policy, the Insureds shall:

                                                               a.       waive and release any automatic stay or injunction to the extent it may apply in such
                                                                        proceeding to the policy or its proceeds under such Bankruptcy Law; and

                                                               b.       agree not to oppose or object to any efforts by the Company, the Insurer or any
                                                                        Insured Person to obtain relief from any such stay or injunction.

                                                               In the event the Company becomes a debtor-in-possession or equivalent status under such
                                                               Bankruptcy Law, and the total covered Loss under this policy exceeds the available
                                                               applicable Limit of Liability, the Insurer shall:

                                                               a.       first pay the Loss allocable to Wrongful Acts that are actually or allegedly caused,
                                                                        committed, or attempted prior to the Company becoming a debtor-in-possession or
                                                                        some equivalent status, then

                                                               b.       pay any remaining Loss allocable to Wrongful Acts that are actually or allegedly
                                                                        caused, committed, or attempted after the Company became a debtor-in-possession
                                                                        or some equivalent status.

                                                       19.     SUBROGATION

                                                               In addition to any right of subrogation existing at law, in equity or otherwise, in the event of
                                                               any payment by the Insurer under this policy, the Insurer shall be subrogated to the extent of
                                                               such payment to all of the Insured(s)’ rights of recovery. The Insured(s) shall execute all
                                                               papers required (including those documents necessary for the Insurer to bring suit or other
                                                               form of proceeding in their name) and do everything that may be necessary to pursue and
                                                               secure such rights.

                                                       20.     ACTION AGAINST THE INSURER
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                                                               No action may be taken against the Insurer unless, as a condition precedent thereto, there
                                                               shall have been full compliance with all material terms of this policy and the amount of the
                                                               Insured’s obligation has been fully determined either by judgment against the Insured after
                                                               actual trial, or by written agreement of the Insured, the claimant and the Insurer.

                                                               No person or entity shall have any right under this policy to join the Insurer as a party to any
                                                               action against any Insured to determine such Insured's liability nor shall the Insurer be
                                                               impleaded by such Insured or legal representatives of such Insured.




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                                                       21.     CONFORMITY TO STATUTE

                                                               Any terms of this policy which are in conflict with the terms of any applicable laws
                                                               construing this policy, including any endorsement to this policy which is required by any state
                                                               Department of Insurance, or equivalent authority (“State Amendatory Endorsement”), are
                                                               hereby amended to conform to such laws. Nothing herein shall be construed to restrict the
                                                               terms of any State Amendatory Endorsement.

                                                               In the event any portion of this policy shall be declared or deemed invalid or unenforceable
                                                               under applicable law, such invalidity or unenforceability shall not affect the validity or
                                                               enforceability of any other portion of this policy.

                                                       22.     HEADINGS

                                                               The descriptions in the headings and any subheading of this policy (including any titles given
                                                               to any endorsement attached hereto) are inserted solely for convenience and do not constitute
                                                               any part of this policy’s terms or conditions.
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                                                                     STARR INDEMNITY AND LIABILITY COMPANY
                                                       ___________________________________________________________________________

                                                                                      RESOLUTE PORTFOLIOSM
                                                                                        For Private Companies

                                                                                Directors & Officers Liability Coverage Section

                                                       In consideration of the payment of the premium and in reliance upon the Application, which shall be
                                                       deemed to be attached to, incorporated into, and made a part of this policy, and subject to the General
                                                       Terms & Conditions Section and this Coverage Section, if purchased by the Insured as indicated in
                                                       Item 3 of the Declarations, STARR INDEMNITY AND LIABILITY COMPANY (the “Insurer”)
                                                       and the Parent Company, on behalf of all Insureds, agree as follows:

                                                       1. INSURING AGREEMENTS

                                                           A. The Insurer shall pay on behalf of any Insured Person the Loss arising from a Claim first
                                                              made during the Policy Period (or Discovery Period, if applicable) against such Insured
                                                              Person for any Wrongful Act, and reported to the Insurer in accordance with the terms of
                                                              this policy, except if the Company has indemnified the Insured Person for such Loss.

                                                           B. The Insurer shall pay on behalf of the Company the Loss arising from a Claim first made
                                                              during the Policy Period (or Discovery Period, if applicable) against any Insured Person for
                                                              any Wrongful Act, and reported to the Insurer in accordance with the terms of this policy, if
                                                              the Company has indemnified the Insured Person for such Loss.

                                                           C. The Insurer shall pay on behalf of the Company the Loss arising from a Claim first made
                                                              during the Policy Period (or Discovery Period, if applicable) against the Company for any
                                                              Wrongful Act, and reported to the Insurer in accordance with the terms of this policy.

                                                           D. The Insurer shall reimburse the Company for the Derivative Costs incurred by the
                                                              Company in response to a Derivative Demand first made during the Policy Period (or
                                                              Discovery Period, if applicable) for any Wrongful Act of any Executive, and reported to the
                                                              Insurer in accordance with the terms of this policy. This Insuring Agreement D. shall apply
                                                              only if purchased by the Insured as indicated in Item 3 of the Declarations and is subject to
                                                              the Sublimit of Liability set forth in Item 4 of the Declarations which is the Insurer’s
                                                              maximum limit of liability under this Insuring Agreement D. for all Derivative Costs arising
                                                              from all Derivative Demands. The Sublimit of Liability for Derivative Costs shall be part
                                                              of, and not in addition to, the Limit of Liability applicable to this Coverage Section. This
                                                              Insuring Agreement D. shall not provide coverage for any civil proceeding that is based upon
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                                                              or arises from a Derivative Demand.


                                                       2. DEFINITIONS

                                                           (a) “Claim” means any:

                                                                (1) written demand for monetary, non-monetary or injunctive relief made against an
                                                                    Insured;

                                                                (2) judicial, administrative or regulatory proceeding, whether civil or criminal, for
                                                                    monetary, non-monetary or injunctive relief commenced against an Insured, including
                                                                    any appeal therefrom, which is commenced by:

                                                                       (i)      service of a complaint or similar pleading;

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                                                                       (ii)     return of an indictment, information or similar document (in the case of a
                                                                                criminal proceeding); or
                                                                       (iii)    receipt or filing of a notice of charges;

                                                                (3) arbitration proceeding commenced against an Insured by service of a demand for
                                                                    arbitration;

                                                                (4) formal civil, criminal, administrative or regulatory investigation of an Insured Person,
                                                                    which is commenced by the filing or issuance of a notice of charges, formal
                                                                    investigative order or similar document identifying such Insured Person as a person
                                                                    against whom a proceeding identified in (2) or (3) above may be commenced;

                                                                (5) written request to toll or waive the applicable statute of limitations relating to a
                                                                    potential Claim against an Insured for a Wrongful Act; or

                                                                (6) Derivative Demand, solely under Insuring Agreement D. if purchased by the Insured.

                                                          (b) “Derivative Costs” means the reasonable and necessary fees, costs, charges, or expenses
                                                              incurred by the Company, its board of directors or any committee of its board of directors,
                                                              solely in response to a Derivative Demand and do not include any settlements, judgments or
                                                              damages, nor any compensation or benefits of any Insured Persons, or any overhead
                                                              expenses of the Company. Derivative Costs shall be reimbursed by the Insurer sixty (60)
                                                              days after the Company provides written notice to the Insurer of its final decision not to
                                                              bring a civil proceeding against an Executive.

                                                          (c) “Derivative Demand” means a written demand by one or more shareholders of the Company
                                                               upon the Company’s board of directors to bring a civil proceeding on behalf of the Company
                                                               against any Executive for a Wrongful Act.

                                                          (d) “Employee” means:

                                                                 (1)   any person who was, now is, or shall become a full-time, part-time, seasonal, or
                                                                       temporary employee of the Company, other than an Executive, but only while that
                                                                       person is acting in the capacity as such;

                                                                 (2)   any person leased to the Company so long as this person is working solely for the
                                                                       Company and only for conduct within his or her duties as such, but only if the
                                                                       Company indemnifies such leased person in the same manner as the Company’s
                                                                       employees; and

                                                                 (3)   any volunteer whose labor and service is engaged and directed by the Company, but
                                                                       only while that person is acting in the capacity as such.
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                                                          (e) “Executive” means any:

                                                                 (1)   past, present or future duly elected or appointed director, officer, trustee, governor,
                                                                       management committee Member or Member of the board of managers;

                                                                 (2)   past, present or future person in a duly elected or appointed position in an entity
                                                                       which is organized and operated in a foreign jurisdiction that is equivalent to an
                                                                       executive position listed in item (1) above; or

                                                                 (3)   past, present or future general counsel and risk manager (or equivalent position) of
                                                                       the Company.

                                                          (f) “Insured” means the Company and any Insured Person.


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                                                          (g) “Insured Person(s)” means any:

                                                                (1)   Executive;

                                                                (2)   Employee; or

                                                                (3)    Outside Entity Insured Person.

                                                          (h) “Loss” means:

                                                                (1)    damages, settlements or judgments;

                                                                (2)    pre-judgment or post-judgment interest;

                                                                (3)    costs or fees awarded in favor of the claimant;

                                                                (4)    punitive, exemplary or the multiplied portion of any multiple damages awards, but
                                                                       only to the extent that such damages are insurable under the applicable law most
                                                                       favorable to the insurability of such damages;

                                                                (5)    Derivative Costs, solely under Insuring Agreement D. if purchased by the Insured;
                                                                       and

                                                                (6)    Defense Costs.

                                                                “Loss” does not include:

                                                                      (i)     any amounts for which the Insureds are not legally liable;

                                                                      (ii)    any amounts which are without legal recourse to the Insureds;

                                                                      (iii)   taxes;

                                                                      (iv)    fines and penalties, except as provided for in Definition (h) (4) above;

                                                                      (v)     matters which may be deemed uninsurable under applicable law; or

                                                                      (vi)    any amounts paid or incurred in complying with a judgment or settlement for
                                                                              non-monetary or injunctive relief, but solely as respects the Company.

                                                          (i) “Outside Entity” means: (1) any not-for-profit entity which is exempt from taxation under
                                                              Section 501(c)(3), (4) or (10) of the IRS Code, as amended, or any rule or regulation
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                                                              promulgated thereunder; or (2) any other entity listed as such by endorsement to this policy,
                                                              for which an Executive acts as a director, officer, trustee or governor (or the equivalent
                                                              thereof) at the written request of the Company. Any such person shall be referred to herein as
                                                              an “Outside Entity Insured Person”, but only while that person is acting in the capacity as a
                                                              director, officer, trustee or governor (or the equivalent thereof) of an Outside Entity.

                                                          (j) “Securities Claim” means a Claim, other than an administrative or regulatory proceeding
                                                              against the Company or an investigation of the Company, made against any Insured:

                                                                (1)    alleging a violation of any foreign, federal, state or local regulation, rule or statute
                                                                       regulating securities, including, but not limited to, the purchase or sale, or offer or
                                                                       solicitation of an offer to purchase or sell securities which is:




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                                                                       (i) brought by any person or entity alleging, arising out of, based upon or attributable
                                                                            to the purchase or sale, or offer or solicitation of an offer to purchase or sell, any
                                                                            securities of the Company; or

                                                                       (ii) brought by a security holder of the Company with respect to such security
                                                                            holder’s interest in securities of such Company; or

                                                                 (2)    brought derivatively on behalf of the Company by a security holder of such
                                                                        Company.

                                                                  Notwithstanding the foregoing, Securities Claim shall include any formal administrative or
                                                                  regulatory proceeding against the Company, but only if and only during the time that such
                                                                  proceeding also constitutes a Securities Claim commenced and continuously maintained
                                                                  against an Insured Person.

                                                                  The Insurer shall not assert that a Loss incurred in a Securities Claim alleging violations
                                                                  of Section 11 or 12 of the Securities Act of 1933, as amended, constitutes uninsurable loss
                                                                  and, subject to all other terms and conditions of this policy, shall deem that portion of such
                                                                  Loss as constituting Loss under this policy.

                                                          (k)     “Subsidiary” means any privately-held for-profit entity (except a partnership) of which the
                                                                  Parent Company:

                                                                 (1)    has Management Control (“Controlled Entity”) before the inception of the Policy
                                                                        Period, either directly or indirectly through one or more other Controlled Entities;

                                                                 (2)    first acquires Management Control during the Policy Period, either directly or
                                                                        indirectly through one or more other Controlled Entities, if such entity’s annual
                                                                        revenue totals less than 25% of the consolidated revenue of the Parent Company as
                                                                        of its latest fiscal year; or

                                                                 (3)    first acquires Management Control during the Policy Period, either directly or
                                                                        indirectly through one or more other Controlled Entities, if such entity’s annual
                                                                        revenue totals 25% or more of the consolidated revenue of the Parent Company as
                                                                        of its latest fiscal year, but only if the Parent Company provides the Insurer with
                                                                        full particulars of the new Subsidiary within ninety (90) days after its creation or
                                                                        acquisition and pays any additional premium with respect to such entity within thirty
                                                                        (30) days after being requested to do so by the Insurer;

                                                                  provided, however, that Subsidiary as defined in items (2) and (3) above shall not mean
                                                                  any entity which is a financial institution, including but not limited to a bank, insurance
                                                                  company, insurance agent/broker, securities broker/dealer, investment advisor, mutual fund
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                                                                  or hedge fund, unless such entity is included in the definition of Subsidiary by specific
                                                                  written endorsement attached to this policy.

                                                                “Subsidiary” also means any not-for-profit entity which is under the exclusive control of the
                                                                Company.

                                                                With respect to a Claim made against any Subsidiary or any Insured Person thereof, this
                                                                policy shall only apply to Wrongful Acts committed or allegedly committed after the
                                                                effective time such entity becomes a Subsidiary and prior to the effective time that such
                                                                entity ceases to be a Subsidiary.

                                                          (l) “Wrongful Act(s)” means:

                                                                 (1)    with respect to an Insured Person, any actual or alleged act, error, omission, neglect,
                                                                        breach of duty, breach of trust, misstatement, or misleading statement by an Insured

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                                                                         Person in his or her capacity as such or any matter claimed against an Insured
                                                                         Person by reason of such capacity;

                                                                   (2)   with respect to an Outside Entity Insured Person, any actual or alleged act, error,
                                                                         omission, neglect, breach of duty, breach of trust, misstatement, or misleading
                                                                         statement by a person in his or her capacity as an Outside Entity Insured Person or
                                                                         any matter claimed against such Outside Entity Insured Person by reason of such
                                                                         capacity; or

                                                                   (3)   with respect to the Company, any actual or alleged breach of duty, neglect, error,
                                                                         misstatement, misleading statement, omission or act by the Company.


                                                       3. EXCLUSIONS

                                                          This policy shall not cover any Loss in connection with any Claim:

                                                            (a)      arising out of, based upon or attributable to the gaining of any profit or advantage or
                                                                     improper or illegal remuneration if a final judgment or adjudication establishes that such
                                                                     Insured was not legally entitled to such profit or advantage or that such remuneration
                                                                     was improper or illegal;

                                                            (b)      arising out of, based upon or attributable to any deliberate fraudulent act or any willful
                                                                     violation of law by an Insured if a final judgment or adjudication establishes that such
                                                                     act or violation occurred;

                                                            (c)      arising out of, based upon or attributable to the purchase or sale by an Insured of
                                                                     securities of the Company within the meaning of Section 16(b) of the Securities
                                                                     Exchange Act of 1934 and any amendments thereto or similar provisions of any state
                                                                     statutory law if a final judgment or adjudication establishes that a violation of Section
                                                                     16(b) occurred;

                                                              In determining the applicability of Exclusions (a), (b) and (c), the facts pertaining to, the
                                                              knowledge possessed by, or any Wrongful Act committed by, any Insured shall not be
                                                              imputed to any other Insured; however, the facts pertaining to, the knowledge possessed by,
                                                              or any Wrongful Act committed by, an Insured Person who is a past or current chairman of
                                                              the board, chief executive officer, president or chief financial officer of the Company shall be
                                                              imputed to the Company.

                                                            (d)      alleging, arising out of, based upon or attributable to any facts or circumstances of which
                                                                     an Insured Person had actual knowledge or information of, as of the Pending or Prior
                                                                     Date set forth in Item 6 of the Declarations as respects this Coverage Section, and that he or
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                                                                     she reasonably believed may give rise to a Claim under this policy;

                                                            (e)      based upon, arising from, or in consequence of any actual or alleged liability of any
                                                                     Insured under any express contract or agreement, except to the extent that such Insured
                                                                     would have been liable in the absence of such contract or agreement; provided, however,
                                                                     that this exclusion shall apply only to any Claim under Insuring Agreement C.;

                                                             (f)     alleging, arising out of, based upon or attributable to, as of the Pending or Prior Date set forth
                                                                     in Item 6 of the Declarations as respects this Coverage Section, any pending or prior: (1)
                                                                     litigation; or (2) administrative or regulatory proceeding or investigation of which an
                                                                     Insured had notice, including any Claim alleging or derived from the same or essentially the
                                                                     same facts, or the same or related Wrongful Act(s), as alleged in such pending or prior
                                                                     litigation or administrative or regulatory proceeding or investigation;




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                                                            (g)    alleging, arising out of, based upon or attributable to the same or essentially the same
                                                                   facts alleged, or to the same or related Wrongful Act(s) alleged or contained in any
                                                                   Claim which has been reported, or in any circumstances of which notice has been given,
                                                                   before the inception date of this policy as set forth in Item 2 of the Declarations, under
                                                                   any policy, whether excess or underlying, of which this policy is a renewal or
                                                                   replacement or which it may succeed in time;

                                                            (h)    alleging, arising out of, based upon or attributable to any actual or alleged act or omission
                                                                   of any Insured Person serving in any capacity other than as an Executive or an
                                                                   Employee or an Outside Entity Insured Person:

                                                             (i)   brought by or on behalf of any Insured, other than an Employee; provided, however,
                                                                   that this exclusion shall not apply to:

                                                                   (i)    any Claim brought by an Insured Person that is in the form of a cross-claim or
                                                                          third-party claim for contribution or indemnity which is part of, and results directly
                                                                          from, a Claim which is not otherwise excluded under the terms of this Coverage
                                                                          Section;

                                                                   (ii)   a shareholder derivative action, but only if such action is brought and maintained
                                                                          without the solicitation, approval, assistance, active participation or intervention of
                                                                          any Insured;

                                                                   (iii) any Claim brought by any Executive who has not served in such capacity, nor has
                                                                         acted as a consultant to the Company, for at least three (3) years prior to the
                                                                         Claim being first made;

                                                                   (iv)   any Claim brought against an Insured Person arising out of or based upon any
                                                                          protected activity specified in any “whistleblower” protection pursuant to any
                                                                          foreign, federal, state or local law;

                                                                   (v)    any Claim brought by any Executive of a Company formed and operating in a
                                                                          foreign jurisdiction against such Company and any Insured Person thereof,
                                                                          provided that such Claim is brought and maintained outside the United States,
                                                                          Canada or any other common law country (including any territories thereof); or

                                                                   (vi)   any Claim brought or maintained by or on behalf of a bankruptcy or insolvency
                                                                          trustee, examiner, receiver or similar official for the Company or any assignee of
                                                                          such trustee, examiner, receiver or similar official.

                                                             (j)   alleging, arising out of, based upon, attributable to, directly or indirectly resulting from,
                                                                   or in consequence of, or in any way involving, Pollution; provided, however, that this
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                                                                   exclusion shall not apply to any Claim under Insuring Agreement A. or any Securities
                                                                   Claim, except for Loss constituting Cleanup Costs;

                                                             (k)   alleging, arising out of, based upon or attributable to any actual or alleged violation of
                                                                   the Employee Retirement Income Security Act of 1974, the Fair Labor Standards Act, the
                                                                   National Labor Relations Act, the Worker Adjustment and Retraining Notification Act,
                                                                   the Consolidated Omnibus Budget Reconciliation Act, the Occupational Safety and
                                                                   Health Act, any rules or regulations of the foregoing promulgated thereunder, and any
                                                                   amendments thereto, or any similar foreign, federal, state or statutory law or common
                                                                   law;

                                                             (l)   alleging, arising out of, based upon, attributable to, or in any way involving, directly or
                                                                   indirectly any public offering of securities by the Company or an Outside Entity, or
                                                                   alleging a purchase or sale of such securities subsequent to such public offering;
                                                                   provided, however, that this exclusion shall not apply to:

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                                                                  (i)    any purchase or sale of securities exempted pursuant to Section 3(b) of the
                                                                         Securities Act of 1933. Coverage for such purchase or sale transaction shall be
                                                                         conditioned solely upon the Company giving the Insurer written notice of any
                                                                         such public offering, including all details thereof, as soon as practicable, but not
                                                                         later than thirty days after the effective date of such offering; or

                                                                  (ii)   any public offering of securities, other than an offering described in paragraph (i)
                                                                         above, as well as any purchase or sale of securities subsequent to such public
                                                                         offering. Coverage for such transaction shall be conditioned upon, within thirty
                                                                         days prior to the effective time of such public offering, the Company: (a) giving
                                                                         the Insurer written notice of such offering, including all details thereof, and any
                                                                         underwriting information required by the Insurer; and (b) accepting such terms,
                                                                         conditions and additional premium required by the Insurer for such coverage.
                                                                         Coverage provided pursuant to this paragraph is also subject to the Company
                                                                         paying such additional premium when due. The Insurer shall provide the
                                                                         Company with a quote for such coverage if the Company gives written notice of
                                                                         the offering as required in this paragraph.

                                                            (m)   for any Wrongful Act arising out of any Insured Person serving as a director, officer,
                                                                  trustee or governor of an Outside Entity if such Claim is brought by the Outside Entity
                                                                  or by any director, officer, trustee or governor thereof; or which is brought by any
                                                                  securities holder of the Outside Entity, whether directly or derivatively, unless such
                                                                  securities holder's Claim is instigated and continued totally independent of, and totally
                                                                  without the solicitation of, or assistance of, or active participation of, or intervention of,
                                                                  the Outside Entity, any director, officer, trustee or governor thereof, an Executive or the
                                                                  Company; provided, however, that this exclusion shall not apply to:

                                                                  (i)    any Claim brought by any director, officer, trustee or governor of an Outside
                                                                         Entity in the form of a cross-claim or third-party claim for contribution or
                                                                         indemnity which is part of, and results directly from, a Claim which is not
                                                                         otherwise excluded under the terms of this Coverage Section;

                                                                  (ii)   any Claim brought or maintained by or on behalf of a bankruptcy or insolvency
                                                                         trustee, examiner, receiver or similar official for the Outside Entity or any assignee
                                                                         of such trustee, examiner, receiver or similar official;

                                                                  (iii) any Claim brought by any director, officer, trustee or governor of an Outside
                                                                        Entity who has not served in such capacity, nor acted as a consultant to the
                                                                        Outside Entity, for at least three (3) years prior to such Claim being first made; or

                                                                  (iv)   any Claim brought by any director, officer, trustee or governor of an Outside
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                                                                         Entity, formed and operating in a foreign jurisdiction against any Outside Entity
                                                                         Insured Person of such Outside Entity, provided that such Claim is brought and
                                                                         maintained outside the United States, Canada or any other common law country
                                                                         (including any territories thereof);

                                                            (n)   for bodily injury, sickness, mental anguish, emotional distress, libel, slander, oral or
                                                                  written publication of defamatory or disparaging material, violation of any right of
                                                                  privacy, disease or death of any person, or damage to or destruction of any tangible
                                                                  property, including the loss of use thereof; provided, however, that this exclusion shall
                                                                  not apply to any Securities Claim;

                                                            (o)   alleging, arising out of, based upon, or attributable to any actual or alleged: (i) violation
                                                                  of the Foreign Corrupt Practices Act, any rules or regulations of the foregoing
                                                                  promulgated thereunder, and any amendments thereto, or any similar foreign, federal,
                                                                  state or statutory law or common law; (ii) payments, commissions, gratuities, benefits or

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                                                                  other favors for the direct or indirect benefit of any officials, directors, agents, partners,
                                                                  representatives, principal shareholders, or owners of the Company or employees of any
                                                                  customers of the Company; or (iii) political contributions;

                                                            (p)   alleging, arising out of, based upon, or attributable to any actual or alleged
                                                                  discrimination, harassment, retaliation, wrongful discharge, termination or any other
                                                                  employment-related or employment practice claim, including but not limited to any
                                                                  wage-hour claim or any third-party discrimination or harassment claim; provided,
                                                                  however, that this exclusion shall not apply to any Securities Claim;

                                                            (q)   alleging, arising out of, based upon, or attributable to the ownership, management,
                                                                  maintenance, operation and/or control by the Company of any captive insurance
                                                                  company or entity, including but not limited to any Claim alleging the insolvency or
                                                                  bankruptcy of the Company as a result of such ownership, management, maintenance,
                                                                  operation and/or control;

                                                            (r)   alleging, arising out of, based upon, or attributable to based upon, arising from, or in
                                                                  consequence of any actual or alleged plagiarism, infringement or violation of any
                                                                  copyright, patent, trademark or service mark or the misappropriation of intellectual
                                                                  property, ideas or trade secrets; provided, however, that this exclusion shall apply only to
                                                                  any Claim under Insuring Agreement C.;

                                                            (s)   alleging, arising out of, based upon or attributable to the rendering or failure to render any
                                                                  professional service to a customer or client of the Insured; provided, however, that this
                                                                  exclusion shall not apply to any Securities Claim, but only if such Securities Claim is
                                                                  instigated and continued totally independent of, and totally without the solicitation of, or
                                                                  assistance of, or active participation of, or intervention of, the Company or any Insured
                                                                  Person.


                                                       4. ORDER OF PAYMENTS

                                                          In the event of Loss arising from a covered Claim for which payment is due under the provisions
                                                          of this Coverage Section, the Insurer shall in all events:

                                                          (1) first, pay Loss for which coverage is provided under this Coverage Section for any Insured
                                                              Person under Insuring Agreement A.;

                                                          (2) second, only after payment of Loss has been made pursuant to item (1) above, with respect to
                                                              whatever remaining amount of any Limit of Liability applicable to this Coverage Section is
                                                              available, pay the Loss for which coverage is provided under this Coverage Section for the
                                                              Company under Insuring Agreement B.; and
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                                                          (3) third, only after payment of Loss has been made pursuant to items (1) and (2) above, with
                                                              respect to whatever remaining amount of any Limit of Liability applicable to this Coverage
                                                              Section is available, pay the Loss for which coverage is provided under this Coverage
                                                              Section for the Company under Insuring Agreement C. and D.


                                                       5. NON-RESCINDABLE CLAUSE

                                                          The Insurer irrevocably waives any right it may have to rescind coverage available under
                                                          Insuring Agreement A. of this Coverage Section, in whole or in part, on any grounds.




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                                                                           STARR INDEMNITY AND LIABILITY COMPANY
                                                      _____________________________________________________________________________________________

                                                                                      RESOLUTE PORTFOLIOSM
                                                                                        For Private Companies
                                                                                     Crime and Fidelity Coverage Section

                                                      In consideration of the payment of the premium and subject to the Insuring Agreements, terms, conditions
                                                      and exclusions of this Coverage Section, if purchased by the Company as indicated in Item 3 of the
                                                      Declarations, STARR INDEMNITY AND LIABILITY COMPANY (the “Insurer”) and the Parent
                                                      Company, on behalf of the Company, agree as follows:

                                                      1.      INSURING AGREEMENTS

                                                              Coverage is provided under the following Insuring Agreements for which a Limit of Liability is
                                                              indicated in Item 4 of the Declarations, and, applies to loss sustained by the Company resulting
                                                              directly from an Occurrence taking place during the Policy Period, except as indicated in
                                                              Condition 6.(a)(10), Loss Sustained During Prior Insurance Issued By The Insurer Or Any
                                                              Affiliate, or Condition 6.(a)(11), Loss Sustained During Prior Insurance Not Issued By The
                                                              Insurer Or Any Affiliate, and which is Discovered by the Company during the Policy Period or
                                                              during the period of time provided in Condition 6.(a)(6), Extended Period To Discover Loss, of
                                                              this Coverage Section.

                                                              A.     Employee Theft Insuring Agreement

                                                                     The Insurer shall pay the Parent Company for direct loss of Money, Securities or
                                                                     Other Property sustained by the Company resulting from Theft or Forgery committed
                                                                     by an Employee, whether identified or not, acting alone or in collusion with other
                                                                     persons.

                                                              B.     Forgery Or Alteration Insuring Agreement

                                                                     (1)     The Insurer shall pay the Parent Company for loss resulting directly from
                                                                             Forgery or alteration of checks, drafts, promissory notes, or similar written
                                                                             promises, orders or directions to pay a sum certain in Money that are:

                                                                             a.      made or drawn by or drawn upon the Company, or
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                                                                             b.      made or drawn by one acting as an agent of the Company, or
                                                                             c.      that are purported to have been so made or drawn.

                                                                             For the purposes of this Insuring Agreement B, a substitute check as defined in
                                                                             the Check Clearing for the 21st Century Act shall be treated the same as the
                                                                             original it replaced.

                                                                     (2)     If the Company is sued for refusing to pay any instrument covered item in B.(1)
                                                                             above, on the basis that it has been forged or altered, and the Company has the
                                                                             written consent of the Insurer to defend against the suit, the Insurer will pay for
                                                                             any reasonable legal expenses incurred and paid by the Company in that
                                                                             defense. The amount that the Insurer shall pay is in addition to the Limit of
                                                                             Liability applicable to Insuring Agreement B.(1).

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                                                            C.      Inside the Premises – Loss of Money and Securities Insuring Agreement

                                                                    (1)    The Insurer shall pay the Parent Company for the loss of Money and
                                                                           Securities inside the Premises or Banking Premises:

                                                                           a.     resulting directly from Theft committed by a person present inside such
                                                                                  Premises or Banking Premises; or
                                                                           b.     resulting directly from disappearance or destruction.

                                                                    (2)    The Insurer shall pay the Parent Company for loss from damage to the
                                                                           Premises or its exterior resulting directly from an actual or attempted Theft of
                                                                           Money and Securities, if the Company is the owner of the Premises or is liable
                                                                           for damage to it.

                                                                    (3)    The Insurer shall pay the Parent Company for loss of or damage to a locked
                                                                           safe, vault, cash register, cash box or cash drawer located inside the Premises
                                                                           resulting directly from an actual or attempted Theft of or unlawful entry into
                                                                           those containers.

                                                            D.      Inside the Premises – Robbery Or Safe Burglary of Other Property Insuring
                                                                    Agreement

                                                                    (1)    The Insurer shall pay the Parent Company for loss of or damage to Other
                                                                           Property:

                                                                           a.     inside the Premises resulting directly from an actual or attempted
                                                                                  Robbery of a Custodian; or
                                                                           b.     inside the Premises in a safe or vault resulting directly from an actual or
                                                                                  attempted Safe Burglary.

                                                                    (2)    The Insurer shall pay the Parent Company for loss from damage to the
                                                                           Premises or its exterior resulting directly from an actual or attempted Robbery
                                                                           of Other Property, if the Company is the owner of the Premises or is liable for
                                                                           damage to it.

                                                                    (3)    The Insurer will pay the Parent Company for loss of or damage to a locked
                                                                           safe or vault located inside the Premises resulting directly from an actual or
                                                                           attempted Robbery or Safe Burglary.

                                                            E.      Outside The Premises Insuring Agreement
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                                                                    (1)    The Insurer shall pay the Parent Company for loss of Money and Securities
                                                                           outside the Premises in the care and custody of a Messenger or an armored
                                                                           motor vehicle company resulting directly from Theft, disappearance or
                                                                           destruction.

                                                                    (2)    The Insurer shall pay the Parent Company for loss of or damage to Other
                                                                           Property outside the Premises in the care and custody of a Messenger or an
                                                                           armored motor vehicle company resulting directly from an actual or attempted
                                                                           Robbery.

                                                            F.      Computer Fraud Insuring Agreement


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                                                                     The Insurer shall pay the Parent Company for loss of or damage to Money, Securities
                                                                     and Other Property resulting directly from the use of any computer to fraudulently
                                                                     cause a transfer of that property from inside the Premises or Banking Premises:

                                                                     a.    to a person (other than a Messenger) outside those Premises.
                                                                     b.    to a place outside those Premises.

                                                              G.     Funds Transfer Insuring Agreement

                                                                     The Insurer shall pay the Parent Company for loss of Funds resulting directly from a
                                                                     Fraudulent Instruction directing a financial institution to transfer, pay or deliver Funds
                                                                     from the Company’s Transfer Account.

                                                              H.     Money Orders and Counterfeit Money Insuring Agreement

                                                                     The Insurer shall pay the Parent Company for loss resulting directly from the
                                                                     Company having accepted in good faith, in exchange for merchandise, Money, or
                                                                     services:

                                                                     a.      money orders issued by any post office, express company or bank that are
                                                                             not paid upon presentation; or
                                                                     b.      Counterfeit Money that is acquired during the regular course of business.

                                                              I.     Credit, Debit, Charge Card Forgery Insuring Agreement

                                                                     The Insurer shall pay the Parent Company for loss sustained by the Company resulting
                                                                     directly from Credit Card Forgery committed by a Third Party.

                                                              J.     Clients Property Insuring Agreement

                                                                     The Insurer shall pay the Parent Company for the direct loss of Money, Securities, or
                                                                     Other Property sustained by a Client resulting from Theft or Forgery committed by an
                                                                     Employee not in collusion with such Client’s employees.

                                                              K.     Investigative Expense Incurred to Establish Amount of Covered Loss Insuring
                                                                     Agreement

                                                                     The Insurer shall pay the Parent Company for reasonable investigative expense
                                                                     incurred by the Company, excluding the Company’s internal corporate costs (such as
                                                                     salary, wages, commissions, benefits or overhead expenses), to establish the existence
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                                                                     and amount of a covered loss. Investigative expenses shall not include expenses incurred
                                                                     by any Client. Coverage as provided by this Insuring Agreement K shall be subject to
                                                                     the prior written consent of the Insurer.

                                                      2)      DEFINITIONS

                                                                     (a)     “Banking Premises” means the interior of that portion of any building occupied
                                                                             by a banking institution or similar safe depository.

                                                                     (b)     “Client” means a customer of the Company to whom the Company provides
                                                                             goods or services for a fee under written contract.



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                                                                    (c)    “Credit Card Forgery” means the Forgery or alteration of, on or in any written
                                                                           instrument required in connection with any credit, debit or charge card issued to
                                                                           the Company or, at the request of the Company, to an Employee.

                                                                    (d)    “Counterfeit Money” means an imitation of Money that is intended to deceive
                                                                           and to be taken as genuine.

                                                                    (e)    “Custodian” means the Company, any partners, any Members, or any
                                                                           Employee while having care and custody of property inside the Premises,
                                                                           excluding any person while acting as a Watchperson or janitor.

                                                                    (f)    “Discover(s)”, “Discovery” or “Discovered” means the time when the
                                                                           Company’s General Counsel, any Employee of the Risk Management
                                                                           Department or Human Resources Department, or any Employee or officer at the
                                                                           level of corporate Vice President or above first becomes aware of facts which
                                                                           would cause a reasonable person to assume that a loss of a type covered by this
                                                                           Coverage Section has been or will be incurred, regardless of when the act or acts
                                                                           causing or contributing to such loss occurred, even though the exact amount or
                                                                           details of loss may not then be known.

                                                                           “Discover(s)”, “Discovery” or “Discovered” also means the time when the
                                                                           Company’s General Counsel, any Employee of the Risk Management
                                                                           Department or Human Resources Department, or any Employee or officer at the
                                                                           level of corporate Vice President or above first receives notice of an actual or
                                                                           potential claim in which it is alleged that the Company is liable to a Third Party
                                                                           under circumstances, which, if true, would constitute a loss under this Coverage
                                                                           Section.

                                                                    (g)    “Employee” means
                                                                           (1)   any natural person:
                                                                                 (i)     while in the regular service of the Company and for the first
                                                                                         forty-five (45) days immediately after termination of service,
                                                                                         unless such termination is due to Theft or any other dishonest
                                                                                         act committed by the Employee;
                                                                                 (ii)    who is compensated directly by the Company by salary, wages
                                                                                         or commissions; and
                                                                                 (iii)   who the Company has the right to direct and control while
                                                                                         performing services for the Company;
                                                                           (2)   any natural person who is furnished temporarily to the Company:
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                                                                                 (i)     to substitute for a permanent Employee as defined in 2.(g)(1)
                                                                                         above who is on leave; or
                                                                                 (ii)    to meet seasonal or short-term workload conditions:
                                                                                         a.       while that person is subject to the Company’s direction
                                                                                                  and control, and
                                                                                         b.       performing services for the Company, excluding,
                                                                                                  however, any such person while having care and custody
                                                                                                  of property outside the Premises;
                                                                           (3)   any natural person who is leased to the Company under a written
                                                                                 agreement between the Company and a labor leasing firm to perform
                                                                                 duties related to the conduct of the Company’s business, but does not
                                                                                 mean a temporary employee as defined in 2.(g)(2) above;
                                                                           (4)   any natural person who is:


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                                                                                   (i)      a trustee, officer, Employee, administrator or manager of any
                                                                                            Employee Benefit Plan, except an administrator or manager
                                                                                            who is an independent contractor; and
                                                                                   (ii)     a director or trustee of the Company while that person is
                                                                                            engaged in handling Funds or Other Property of any
                                                                                            Employee Benefit Plan;
                                                                           (5)     Any natural person fiduciary, trustee, administrator or other plan official,
                                                                                   while in the regular service of an Employee Benefit Plan, who is
                                                                                   required to be bonded by the Company in connection with such
                                                                                   Employee Benefit Plan as required by Title 1 of the Employee
                                                                                   Retirement Income Security Act of 1974, as amended, but does not mean
                                                                                   a natural person as defined in 2.(g)(4) above;
                                                                           (6)     any natural person who is a former Employee, Member, Manager,
                                                                                   director or trustee retained as a consultant while performing services for
                                                                                   the Company;
                                                                           (7)     any natural person who is a guest student or intern pursuing studies or
                                                                                   duties, excluding, however, any such person while having care and
                                                                                   custody of property outside the Premises;
                                                                           (8)     any Employee of an entity merged or consolidated with the Company
                                                                                   prior to the effective date of this Coverage Section; or
                                                                           (9)     any Managers, directors or trustees of the Company while:
                                                                                   (i)      performing acts within the scope of the usual duties of an
                                                                                            Employee; or
                                                                                   (ii)     acting as a member of any committee duly elected or appointed
                                                                                            by resolution of the Company’s board of directors or board of
                                                                                            trustees to perform specific, as distinguished from general,
                                                                                            directorial acts on behalf of the Company.

                                                                           “Employee” does not mean any agent, broker, factor, commission merchant,
                                                                           consignee, independent contractor or representative of the same general character
                                                                           not specified in 2.(g)(1) through 2.(g)(9) above.

                                                                    (h)    “Employee Benefit Plan” means any welfare or pension benefit plan, defined
                                                                           and required to be bonded under Title 1 of the Employee Retirement Income
                                                                           Security Act of 1974, as amended, which is operated solely by the Company or
                                                                           jointly by the Company and a labor organization for the benefit of Employees
                                                                           and which existed on or before the inception date of the Policy Period or the
                                                                           inception date of this Coverage Section, if the dates differ.
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                                                                    (i)    “Forgery” means the signing of the name of another person or organization with
                                                                           intent to deceive; it does not mean a signature which consists in whole or in part
                                                                           of one’s own name signed with or without authority, in any capacity, for any
                                                                           purpose.



                                                                    (j)    “Fraudulent Instruction” means
                                                                           (1)   an electronic, telegraphic, cable, teletype, telefacsimile or telephone
                                                                                 instruction which purports to have been transmitted by the Company,
                                                                                 but which was in fact fraudulently transmitted by someone else without
                                                                                 the Company’s knowledge or consent;
                                                                           (2)   a written instruction (other than those described in Insuring Agreement
                                                                                 B) issued by the Company, which was forged or altered by someone

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                                                                                   other than the Company without the Company’s knowledge or consent,
                                                                                   or which purports to have been issued by the Company, but was in fact
                                                                                   fraudulently issued without the Company’s knowledge or consent; or
                                                                           (3)     an electronic, telegraphic, cable, teletype, telefacsimile, telephone or
                                                                                   written instruction initially received by the Company which purports to
                                                                                   have been transmitted by an Employee but which was in fact
                                                                                   fraudulently transmitted by someone else without the Employee’s
                                                                                   knowledge or consent.

                                                                    (k)    “Funds” means Money and Securities.

                                                                    (l)    “Messenger” means the Company, a relative of the Company, or any partners
                                                                           or Members, or any Employee while having care and custody of property
                                                                           outside the Premises.

                                                                    (m)    “Money” means
                                                                           (1)   currency, coins and bank notes in current use and having a face value;
                                                                                 and
                                                                           (2)   travelers checks, register checks and money orders held for sale to the
                                                                                 public.

                                                                    (n)    “Occurrence” means
                                                                           (1)   Under Insuring Agreement A
                                                                                 (i)      an individual act;
                                                                                 (ii)     the combined total of all separate acts whether or not related; or
                                                                                 (iii)    a series of acts whether or not related
                                                                                 committed by an Employee acting alone or in collusion with other
                                                                                 persons, during the Policy Period, except as provided under Condition
                                                                                 6.(a)(10) Loss Sustained During Prior Insurance Issued By The Insurer
                                                                                 Or Any Affiliate, or, Condition 6.(a)(11) Loss Sustained During Prior
                                                                                 Insurance Not Issued By The Insurer Or Any Affiliate, of this Coverage
                                                                                 Section.
                                                                           (2)   Under Insuring Agreement B
                                                                                 (i)      an individual act;
                                                                                 (ii)     the combined total of all separate acts whether or not related; or
                                                                                 (iii)    a series of acts whether or not related
                                                                                 committed by a person acting alone or in collusion with other persons,
                                                                                 involving one or more instruments, during the Policy Period, except as
                                                                                 provided under Condition 6.(a)(10) Loss Sustained During Prior
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                                                                                 Insurance Issued By The Insurer Or Any Affiliate, or, Condition
                                                                                 6.(a)(11) Loss Sustained During Prior Insurance Not Issued By The
                                                                                 Insurer Or Any Affiliate, of this Coverage Section.


                                                                           (3)     Under All Other Insuring Agreements:
                                                                                   (i)     an individual act or event;
                                                                                   (ii)    the combined total of all separate acts or events whether or not
                                                                                           related; or
                                                                                   (iii)   a series of acts or events whether or not related
                                                                                   committed by a person acting alone or in collusion with other persons, or
                                                                                   not committed by any person, during the Policy Period, except as
                                                                                   indicated under Condition 6.(a)(10) Loss Sustained During Prior


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                                                                                   Insurance Issued By The Insurer Or Any Affiliate, or, Condition
                                                                                   6.(a)(11) Loss Sustained During Prior Insurance Not Issued By The
                                                                                   Insurer Or Any Affiliate, of this Coverage Section.

                                                                    (o)    “Other Property” means any tangible property other than Money and Securities
                                                                           that has intrinsic value. Other Property does not include computer programs,
                                                                           electronic data or any property specifically excluded under this Coverage
                                                                           Section.

                                                                    (p)    “Premises” means the interior of that portion of any building occupied by the
                                                                           Company in conducting its business.

                                                                    (q)    “Robbery” means the unlawful taking of property from the care and custody of a
                                                                           person by one who has:
                                                                           (1)     caused or threatened to cause that person bodily harm; or
                                                                           (2)     committed an obviously unlawful act witnessed by that person.

                                                                    (r)    “Safe Burglary” means the unlawful taking of
                                                                           (1)    property from within a locked safe or vault by a person unlawfully
                                                                                  entering the safe or vault as evidenced by marks of forcible entry upon
                                                                                  its exterior; or
                                                                           (2)    a safe or vault from inside the Premises.

                                                                    (s)    “Securities” means negotiable and non negotiable instruments or contracts
                                                                           representing either Money or property and includes
                                                                           (1)     tokens, tickets, revenue and other stamps (whether represented by actual
                                                                                   stamps or unused value in a meter) in current use; and
                                                                           (2)     evidences of debt issued in connection with credit or charge cards, which
                                                                                   cards are not issued by the Company;
                                                                           but does not include Money.

                                                                    (t)    “Subsidiary” means any privately-held for-profit entity of which the Parent
                                                                           Company
                                                                           (1)    has Management Control (“Controlled Entity”) before the inception of
                                                                                  the Policy Period, either directly or indirectly through one or more other
                                                                                  Controlled Entities;
                                                                           (2)    first acquires Management Control during the Policy Period, either
                                                                                  directly or indirectly through one or more other Controlled Entities, if
                                                                                  such entity’s annual revenue totals less than 25% of the consolidated
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                                                                                  revenue of the Parent Company as of its latest fiscal year; or




                                                                           (3)     first acquires Management Control during the Policy Period, either
                                                                                   directly or indirectly through one or more other Controlled entities, if
                                                                                   such entity’s annual revenue totals 25% or more of the consolidated
                                                                                   revenue of the Parent Company as of its latest fiscal year, but only if
                                                                                   the Parent Company provides the Insurer with full particulars of the
                                                                                   new Subsidiary within ninety (90) days after its creation or acquisition
                                                                                   and pays any additional premium with respect to such entity within thirty
                                                                                   (30) days after being requested to do so by the Insurer.


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                                                                             Provided, however, that Subsidiary as indicated in items 2.(t)(2) and 2.(t)(3)
                                                                             above shall not include any entity which is a financial institution, such as a bank,
                                                                             insurance company, insurance agent or broker, securities broker or dealer,
                                                                             investment advisor, mutual fund or hedge fund, unless such entity is included in
                                                                             the definition of Subsidiary by specific written endorsement attached to this
                                                                             policy.

                                                                             “Subsidiary” also means any not-for-profit entity which is under the exclusive
                                                                             control of the Company.

                                                                     (u)     “Theft” means the unlawful taking of property to the deprivation of the
                                                                             Company.

                                                                     (v)     “Third Party” means a natural person other than:
                                                                             (1)    an Employee; or
                                                                             (2)    a natural person acting in collusion with an Employee.

                                                                     (w)     “Transfer Account” means an account maintained by the Company at a
                                                                             financial institution from which the Company can initiate the transfer, payment
                                                                             or delivery of Funds:
                                                                             (1)     by means of electronic, telegraphic, cable, teletype, telefacsimile or
                                                                                     telephone instructions communicated directly through an electronic
                                                                                     funds transfer system; or
                                                                             (2)     by means of written instructions (other than those described in Insuring
                                                                                     Agreement B) establishing conditions under which such transfers are to
                                                                                     be initiated by such financial institution through an electronic funds
                                                                                     transfer system.

                                                                     (x)     “Watchperson” means any person the Company retains specifically to have
                                                                             care and custody of property inside the Premises and who has no other duties.

                                                      3.      EXCLUSIONS

                                                              (a)    The insurance afforded under this Coverage Section shall not apply to:

                                                                     (1)     Loss resulting from Theft or any other dishonest act committed by:
                                                                             (i)     the Company; or
                                                                             (ii)    any partners or Members of the Company;
                                                                             whether acting alone or in collusion with other persons.
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                                                                     (2)     Loss caused by an Employee if the Employee had also committed Theft or any
                                                                             other dishonest act prior to the effective date of this policy and the Company or
                                                                             any of partners, Members, Managers, officers, directors or trustees, not in
                                                                             collusion with the Employee, learned of that Theft or dishonest act prior to the
                                                                             inception date of the Policy Period or the inception date of this Coverage
                                                                             Section, if the dates differ; However, this exclusion shall not apply if the value of
                                                                             that Theft or dishonest act was valued at $10,000 or less.

                                                                     (3)     Loss resulting from Theft or any other dishonest act committed by any of the
                                                                             Company’s Employees, Managers, directors, trustees, or authorized
                                                                             representatives:
                                                                             (i)     whether acting alone or in collusion with other persons; or
                                                                             (ii)    while performing services for the Company or otherwise;

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                                                                           except when covered under Insuring Agreement A.

                                                                    (4)    Loss resulting from:
                                                                           (i)     the unauthorized disclosure of the Company’s confidential information
                                                                                   including, but not limited to, patents, trade secrets, processing methods
                                                                                   or customer lists; or
                                                                           (ii)    the unauthorized use or disclosure of confidential information of another
                                                                                   person or entity which is held by the Company including, but not limited
                                                                                   to, financial information, credit card information or similar non-public
                                                                                   information.

                                                                    (5)    Loss resulting from seizure or destruction of property by order of governmental
                                                                           authority.

                                                                    (6)    Loss that is an indirect result of an Occurrence covered by this Coverage
                                                                           Section including, but not limited to, loss resulting from:

                                                                           (i)     The Company’s inability to realize income that would have been
                                                                                   realized by the Company had there been no loss of or damage to Money,
                                                                                   Securities, or Other Property;
                                                                           (ii)    Payment of damages of any type for which the Company is legally
                                                                                   liable. But the Insurer will pay compensatory damages arising directly
                                                                                   from a loss covered under this Coverage Section;
                                                                           (iii)   Payment of costs, fees or other expenses incurred by the Company in
                                                                                   establishing either the existence or the amount of loss under this
                                                                                   Coverage Section, except when covered under Insuring Agreement K.

                                                                    (7)    Fees, costs and expenses incurred by the Company which are related to any legal
                                                                           action, except when covered under Insuring Agreement B.

                                                                    (8)    Loss or damage resulting from nuclear reaction or radiation or radioactive
                                                                           contamination, however caused.

                                                                    (9)    Loss or damage resulting from:
                                                                           (i)     war, including undeclared or civil war;
                                                                           (ii)    warlike action by a military force, including action in hindering or
                                                                                   defending against an actual or expected attack, by any government,
                                                                                   sovereign or other authority using military personnel or other agents; or
                                                                                   insurrection, rebellion, revolution, usurped power, or action taken by
                                                                                   governmental authority in hindering or defending against any of these.
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                                                        (b) The insurance afforded under Insuring Agreement A shall not apply to:

                                                                    (1)    Loss, or that part of any loss, the proof of which as to its existence or amount is
                                                                           dependent upon:
                                                                           (i)     an inventory computation; or
                                                                           (ii)    a profit and loss computation.

                                                                           However, where the Company establishes wholly apart from such computations
                                                                           that the Company has sustained a loss, then the Company may offer its
                                                                           inventory records and actual physical count of inventory in support of the amount
                                                                           of loss claimed.


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                                                                    (2)    Loss resulting from trading, whether in the Company’s name or in a genuine or
                                                                           fictitious account.

                                                                    (3)    Loss resulting from the fraudulent or dishonest signing, issuing, cancelling or
                                                                           failing to cancel, a warehouse receipt or any papers connected with it.

                                                        (c) The insurance afforded under Insuring Agreements C, D, and E shall not apply to:

                                                                    (1)    Loss resulting from accounting or arithmetical errors or omissions.

                                                                    (2)    Loss resulting from the giving or surrendering of property in any exchange or
                                                                           purchase.

                                                                    (3)    Loss or damage resulting from fire, however caused, except:
                                                                           (i)     loss of or damage to Money and Securities, and,
                                                                           (ii)    loss from damage to a safe or a vault.

                                                                    (4)    Loss of property contained in any Money operated device unless the amount of
                                                                           Money deposited in it is recorded by a continuous recording instrument in the
                                                                           device.

                                                                    (5)    Loss of or damage to motor vehicles, trailers or semi-trailers or equipment and
                                                                           accessories attached to them.

                                                                    (6)    Loss of or damage to property after it has been transferred or surrendered to a
                                                                           person or place outside the Premises or Banking Premises:
                                                                           (i)     on the basis of unauthorized instructions;
                                                                           (ii)    as a result of a threat to do bodily harm to any person;
                                                                           (iii)   as a result of a threat to do damage to any property;
                                                                           (iv)    as a result of a threat to introduce a denial of service attack into the
                                                                                   Company’s computer system;
                                                                           (v)     as a result of a threat to introduce a virus or other malicious
                                                                                   instruction into the Company’s computer system which is designed to
                                                                                   damage, destroy or corrupt data or computer programs stored within the
                                                                                   Company’s computer system;
                                                                           (vi)    as a result of a threat to contaminate, pollute or render substandard the
                                                                                   Company’s products or goods; or

                                                                           (vii)   as a result of a threat to disseminate, divulge or utilize:
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                                                                                   a.       the Company’s confidential information; or
                                                                                   b.       weaknesses in the Company’s source code within its computer
                                                                                            system.

                                                                           However this exclusion shall not apply, under Insuring Agreement E, to loss of
                                                                           Money, Securities or Other Property while outside the Premises in the care
                                                                           and custody of a Messenger if the Company:
                                                                           (i)     had no knowledge of any threat at the time the conveyance began; or
                                                                           (ii)    had knowledge of a threat at the time the conveyance began, but, the loss
                                                                                   was not related to the threat.




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                                                                      (7)     Loss from damage to the Premises or its exterior, or to any safe, vault, cash
                                                                              register, cash box, cash drawer or Other Property by vandalism or malicious
                                                                              mischief.

                                                                      (8)     Loss resulting from the Company’s, or anyone acting on the Company’s express
                                                                              or implied authority, being induced by any dishonest act to voluntarily part with
                                                                              title to or possession of any property.

                                                              (d)     The insurance afforded under Insuring Agreement F shall not apply to:

                                                                      (1)     Loss resulting from the use or purported use of credit, debit, charge, access,
                                                                              convenience, identification, stored-value or other cards or the information
                                                                              contained on such cards.

                                                                      (2)     Loss resulting from a Fraudulent Instruction directing a financial institution to
                                                                              transfer, pay or deliver Funds from the Company’s Transfer Account.

                                                                      (3)     Loss, or that part of any loss, the proof of which as to its existence or amount is
                                                                              dependent upon:
                                                                              (i)     an inventory computation; or
                                                                              (ii)    a profit and loss computation.

                                                              (e)     The insurance afforded under Insuring Agreement G shall not apply to loss resulting from
                                                                      the use of any computer to fraudulently cause a transfer of Money, Securities or Other
                                                                      Property.

                                                      4.      LIMIT OF LIABILITY

                                                              The most the Insurer will pay for all loss resulting directly from an Occurrence is the applicable
                                                              Limit of Liability as indicated in Item 4 D. of the Declarations.

                                                              If any loss is covered under more than one Insuring Agreement in this Coverage Section, the most
                                                              the Insurer will pay for such loss shall not exceed the largest Limit of Liability indicated in Item
                                                              4 D. of the Declarations under any one of the Insuring Agreements.

                                                      5.      DEDUCTIBLE

                                                              The Insurer will not pay for loss resulting directly from an Occurrence unless the amount of
                                                              loss exceeds the Deductible Amount shown in Item 5 D. of the Declarations. The Insurer will
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                                                              then pay the amount of loss in excess of the Deductible Amount, up to the Limit of Liability as
                                                              indicated in Item 4.D of the Declarations .

                                                      6.      CONDITIONS

                                                              (a)     Conditions Applicable To All Insuring Agreements

                                                                      (1)     Additional Premises Or Employees
                                                                              If, while this Coverage Section is in force, the Company establishes any
                                                                              additional Premises or hires additional Employees, other than through
                                                                              consolidation or merger with, or purchase or acquisition or assets or liabilities of,
                                                                              another entity, such Premises and Employees shall automatically be covered
                                                                              under this Coverage Section. Notice to the Insurer of an increase in the number


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                                                                           of Premises or Employees need not be given and no additional premium need be
                                                                           paid for the remainder of the Policy Period.

                                                                    (2)    Concealment, Misrepresentation Or Fraud
                                                                           Notwithstanding Section 10 in the General Terms & Conditions Section, this
                                                                           Coverage Section is void in any case of fraud by the Company as it relates to
                                                                           this Coverage Section at any time. It is also void if the Company, at any time,
                                                                           intentionally conceals or misrepresents a material fact concerning:
                                                                           (i)     this Coverage Section;
                                                                           (ii)    the property covered under this Coverage Section;
                                                                           (iii)   the Company’s interest in the property covered under this Coverage
                                                                                   Section; or
                                                                           (iv)    a claim under this Coverage Section.

                                                                    (3)    Duties In the Event of Loss
                                                                           After the Company Discovers a loss or a situation that may result in loss of or
                                                                           damage to Money, Securities, or Other Property, the Company must:
                                                                           (i)     notify the Insurer as soon as possible if the Company has reason to
                                                                                   believe that the value of any loss will equal or exceed one-fourth (1/4) of
                                                                                   the Deductible Amount specified in Item 5. D of the Declarations
                                                                           (ii)    if the Company has reason to believe that any loss (except for loss
                                                                                   covered under Insuring Agreements A and B) involves a violation of law,
                                                                                   the Company must also notify the local law enforcement authorities.
                                                                           (iii)   submit to examination under oath at the Insurer’s request and give the
                                                                                   Insurer a signed statement of its answers.
                                                                           (iv)    produce for the Insurer’s examination all pertinent records.
                                                                           (v)     give the Insurer a detailed, sworn proof of loss within 120 days.
                                                                           (vi)    cooperate with the Insurer in the investigation and settlement of any
                                                                                   claim.

                                                                           With respect to knowledge, belief or Discovery referenced in this Condition 6.(a)
                                                                           (3), Company shall mean the Company’s Corporate Compliance, Ethics or
                                                                           Responsibility Officer, General Counsel, any Employee of the Risk Management
                                                                           Department or Human Resources Department.

                                                                    (4)    Employee Benefit Plans
                                                                           (i)   Employee Benefit Plans are included in the definition of Company
                                                                                 solely with respect to Insuring Agreement A.
                                                                           (ii)  If any Employee Benefit Plan is covered jointly with any other entity
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                                                                                 under this Coverage Section, the Company or the plan administrator
                                                                                 must select a Limit of Liability for Insuring Agreement A that is
                                                                                 sufficient to provide a Limit of Liability for each Employee Benefit
                                                                                 Plan that is at least equal to that required if each Employee Benefit Plan
                                                                                 were separately insured.
                                                                           (iii) With respect to loss sustained or Discovered by any such Employee
                                                                                 Benefit Plan, Insuring Agreement A is replaced by the following:
                                                                                 The Insurer will pay for loss of or damage to Funds and Other
                                                                                 Property resulting directly from fraudulent or dishonest acts committed
                                                                                 by an Employee, whether identified or not, acting alone or in collusion
                                                                                 with other persons.
                                                                           (iv)  If the Parent Company is an entity other than an Employee Benefit
                                                                                 Plan, any payment the Insurer makes for loss sustained by any


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                                                                                   Employee Benefit Plan will be made to the Employee Benefit Plan
                                                                                   sustaining the loss.
                                                                           (v)     If two or more Employee Benefit Plans are covered under this Coverage
                                                                                   Section, any payment the Insurer makes for loss
                                                                                   a.       sustained by two or more Employee Benefit Plans, or
                                                                                   b.       of commingled Funds or Other Property of two or
                                                                                            more Employee Benefit Plans,
                                                                                   resulting directly from an Occurrence will be made to each Employee
                                                                                   Benefit Plan sustaining loss in the proportion that the Limit of Liability,
                                                                                   as indicated in Item 4 D. of the Declarations, required for each
                                                                                   Employee Benefit Plan bears to the total Limit of Liability of all
                                                                                   Employee Benefit Plans sustaining loss.
                                                                           (vi)    The Deductible Amount as indicated in Item 5 D. of the Declarations and
                                                                                   applicable to Insuring Agreement A does not apply to loss sustained by
                                                                                   any Employee Benefit Plan.

                                                                    (5)    Examination Of The Company’s Books And Records
                                                                           The Insurer may examine and audit the Company’s books and records as they
                                                                           relate to this Coverage Section at any time during the Policy Period and up to
                                                                           three (3) years thereafter.
                                                                    (6)    Extended Period To Discover Loss
                                                                           The Insurer will pay for loss sustained by the Company prior to the effective
                                                                           date of cancellation of this Coverage Section, which is Discovered by the
                                                                           Company:
                                                                           (i)      no later than one (1) year from the effective date of such cancellation.
                                                                                    However, this extended period to Discover loss terminates immediately
                                                                                    upon the effective date of any other insurance obtained by the Company,
                                                                                    whether from the Insurer or another insurer, replacing in whole or in
                                                                                    part the coverage afforded under this Coverage Section, whether or not
                                                                                    such other insurance provides coverage for loss sustained prior to its
                                                                                    effective date.
                                                                           (ii)     no later than one (1) year from the date of that cancellation with regard to
                                                                                    any Employee Benefit Plans




                                                                    (7)    Inspections And Surveys
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                                                                           (i)      The Insurer has the right to:
                                                                                    a.       make inspections and surveys at any time;
                                                                                    b.       give the Company reports on the conditions found; and
                                                                                    c.       recommend changes.
                                                                           (ii)     The Insurer is not obligated to make any inspections, surveys, reports or
                                                                                    recommendations and any such actions undertaken by the Insurer relate
                                                                                    only to insurability and the premiums charged. The Insurer does not
                                                                                    make safety inspections. The Insurer does not undertake to perform the
                                                                                    duty of any person or organization to provide for the health and safety of
                                                                                    workers or the public. The Insurer does not warrant that conditions:
                                                                                    a.       are safe or healthful; or
                                                                                    b.       comply with laws, regulations, codes or standards.
                                                                           Conditions 6.(a)(7)(i) and 6.(a)(7)(ii) above apply not only to the Insurer but
                                                                           also to any rating, advisory, rate service or similar organization which makes

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                                                                           insurance inspections, surveys, reports or recommendations.

                                                                    (8)    Parent Company
                                                                           (i)    If the Parent Company, or any partner, Member, or officer of the
                                                                                  Parent Company or of any Company has knowledge of any
                                                                                  information relevant to this Coverage Section, that knowledge is
                                                                                  considered knowledge of the Company.
                                                                           (ii)   An Employee of the Parent Company or of any Company covered
                                                                                  under this Coverage Section is considered to be an Employee of the
                                                                                  Parent Company and every Company covered under this Coverage
                                                                                  Section.
                                                                           (iii)  If this Coverage Section or any of its Agreements is cancelled as to any
                                                                                  Company, loss sustained by that Company is covered only if it is
                                                                                  Discovered by the Company:
                                                                                  a.       no later than one (1) year from the date of that cancellation.
                                                                                           However, this extended period to Discover loss terminates
                                                                                           immediately upon the effective date of any other insurance
                                                                                           obtained by that Company, whether from the Insurer or another
                                                                                           insurer, replacing in whole or in part the coverage afforded under
                                                                                           this Coverage Section, whether or not such other insurance
                                                                                           provides coverage for loss sustained prior to its effective date.
                                                                                  b.       no later than one (1) year from the date of that cancellation with
                                                                                           regard to any Employee Benefit Plan.
                                                                           (iv)   The Insurer will not pay more for loss sustained by the Parent
                                                                                  Company, any one or more Subsidiary and/or any one or more
                                                                                  Employee Benefit Plan than the amount the Insurer would pay if all
                                                                                  such loss had been sustained only by the Parent Company or only one
                                                                                  Subsidiary, or only one Employee Benefit Plan.
                                                                           (v)    Payment by the Insurer to the Parent Company for loss sustained by
                                                                                  any Company, other than an Employee Benefit Plan, shall fully release
                                                                                  the Insurer on account of such loss.




                                                                    (9)    Liberalization
                                                                           If the Insurer adopts any revision that would broaden the coverage under this
                                                                           Coverage Section without additional premium within forty-five (45) days prior to
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                                                                           or during the Policy Period, the broadened coverage will immediately apply to
                                                                           this Coverage Section.

                                                                    (10)   Loss Sustained During Prior Insurance Issued By The Insurer Or Any
                                                                           Affiliate
                                                                           (i)     Loss Sustained Partly During This Coverage Section and Partly During
                                                                                   Prior Insurance
                                                                                   If the Company Discovers loss during the Policy Period, resulting
                                                                                   directly from an Occurrence taking place:
                                                                                   a.       partly during the Policy Period; and
                                                                                   b.       partly during the Policy Period(s) of any prior cancelled
                                                                                            insurance that the Insurer or any affiliate issued to the
                                                                                            Company or any predecessor in interest;


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                                                                              and this Coverage Section became effective at the time of cancellation of
                                                                              the prior insurance, the Insurer will first settle the amount of loss
                                                                              sustained by the Company during this Policy Period. The Insurer will
                                                                              then settle the remaining amount of loss sustained by the Company
                                                                              during the policy period(s) of the prior insurance.
                                                                        (ii)  Loss Sustained Entirely During Prior Insurance
                                                                              If the Company Discovers loss during the Policy Period, resulting
                                                                              directly from an Occurrence taking place entirely during the policy
                                                                              period(s) of any prior cancelled insurance that the Insurer or any
                                                                              affiliate issued to the Company or any predecessor in interest, the
                                                                              Insurer will pay for the loss provided:
                                                                              a.        this Coverage Section became effective at the time of
                                                                                        cancellation of the prior insurance; and
                                                                              b.        the loss would have been covered under this Coverage Section
                                                                                        had it been in effect at the time of the Occurrence.
                                                                        (iii) In settling loss subject to this Condition:
                                                                              a.        the most the Insurer will pay for the entire loss is the highest
                                                                                        single Limit of Liability applicable during the period of loss,
                                                                                        whether such limit was written under this Coverage Section or
                                                                                        was written under the prior insurance issued by the Insurer.
                                                                              b.        the Insurer will apply the applicable Deductible Amount shown
                                                                                        in Item 5 D. of the Declarations to the amount of loss sustained
                                                                                        under the Policy Period. If no loss was sustained under the
                                                                                        Policy Period, the Insurer will apply the Deductible Amount
                                                                                        shown in Item 5 D. of the Declarations to the amount of loss
                                                                                        sustained under the most recent prior insurance.
                                                                              If the Deductible Amount, provided in Item 5 D. of the Declarations, is
                                                                              larger than the amount of loss sustained under this Coverage Section, or
                                                                              the most recent prior insurance, the Insurer will apply the remaining
                                                                              Deductible Amount to the remaining amount of loss sustained during the
                                                                              prior insurance. The Insurer will not apply any other Deductible
                                                                              Amount that may have been applicable to the loss.
                                                                        (iv)  The following examples demonstrate how the Insurer will settle losses
                                                                              subject to this Condition:
                                                                    EXAMPLE NO. 1:

                                                                    The Company sustained a covered loss of $10,000 resulting directly from an occurrence
                                                                    taking place during the terms of Policy A and Policy B.
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                                                                                                         POLICY A
                                                                    The current policy. Written at a limit of liability of $50,000 and a deductible amount of
                                                                    $5,000.

                                                                                                           POLICY B
                                                                    Issued prior to Policy A. Written at a limit of liability of $50,000 and a deductible amount
                                                                    of $5,000.

                                                                    The amount of loss sustained under Policy A is $2,500 and under Policy B is $7,500.
                                                                    The highest single limit of liability applicable to this entire loss is $50,000 written under
                                                                    Policy A. The Policy A deductible amount of $5,000 applies. The loss is settled as
                                                                    follows:


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                                                                    1.      The amount of loss sustained under Policy A ($2,500) is settled first. The amount
                                                                            the Insurer will pay is nil ($0.00) because the amount of loss is less than the
                                                                            Deductible Amount (i.e., $2,500 loss - $5,000 deductible = $0.00).
                                                                    2.      The remaining amount of loss sustained under Policy B ($7,500) is settled next.
                                                                            The amount recoverable is $5,000 after the remaining deductible amount from
                                                                            Policy A of $2,500 is applied to the loss (i.e., $7,500 loss - $2,500 deductible =
                                                                            $5,000).

                                                                    The most the Insurer will pay for this loss is $5,000.

                                                                    EXAMPLE NO. 2:

                                                                    The Company sustained a covered loss of $250,000 resulting directly from an occurrence
                                                                    taking place during the terms of Policy A and Policy B.

                                                                                                          POLICY A
                                                                    The current policy. Written at a limit of liability of $125,000 and a deductible amount of
                                                                    $10,000.

                                                                                                       POLICY B
                                                                    Issued prior to Policy A. Written at a limit of liability of $150,000 and a deductible
                                                                    amount of $25,000.

                                                                    The amount of loss sustained under Policy A is $175,000 and under Policy B is $75,000.
                                                                    The highest single limit of liability applicable to this entire loss is $150,000 written under
                                                                    Policy B. The Policy A deductible amount of $10,000 applies. The loss is settled as
                                                                    follows:

                                                                    1.      The amount of loss sustained under Policy A ($175,000) is settled first. The
                                                                            amount the Insurer will pay is the Policy A Limit of $125,000 because $175,000
                                                                            loss - $10,000 deductible = $165,000 which is greater than the $125,000 policy
                                                                            limit.
                                                                    2.      The remaining amount of loss sustained under Policy B ($75,000) is settled next.
                                                                            The amount the Insurer will pay is $25,000 (i.e., $150,000 Policy B limit -
                                                                            $125,000 paid under Policy A = $25,000).

                                                                    The most the Insurer will pay for this loss is $150,000.

                                                                    EXAMPLE NO. 3:
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                                                                    The Company sustained a covered loss of $2,000,000 resulting directly from an
                                                                    occurrence taking place during the terms of Policies A, B, C and D.

                                                                                                          POLICY A
                                                                    The current policy. Written at a limit of liability of $1,000,000 and a deductible amount
                                                                    of $100,000.

                                                                                                       POLICY B
                                                                    Issued prior to Policy A. Written at a limit of liability of $750,000 and a deductible
                                                                    amount of $75,000.

                                                                                                           POLICY C


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                                                                    Issued prior to Policy B. Written at a limit of liability of $500,000 and a deductible
                                                                    amount of $50,000.
                                                                                                          POLICY D
                                                                    Issued prior to Policy C. Written at a limit of liability of $500,000 and a deductible
                                                                    amount of $50,000.
                                                                    The amount of loss sustained under Policy A is $350,000, under Policy B is $250,000,
                                                                    under Policy C is $600,000 and under Policy D is $800,000.
                                                                    The highest single limit of liability applicable to this entire loss is $1,000,000 written
                                                                    under Policy A. The Policy A deductible amount of $100,000 applies. The loss is settled
                                                                    as follows:
                                                                    1.      The amount of loss sustained under Policy A ($350,000) is settled first. The
                                                                            amount the Insurer will pay is $250,000 (i.e., $350,000 loss - $100,000
                                                                            deductible = $250,000).
                                                                    2.      The amount of loss sustained under Policy B ($250,000) is settled next. The
                                                                            amount the Insurer will pay is $250,000 (no deductible is applied).
                                                                    3.      The amount of loss sustained under Policy C ($600,000) is settled next. The
                                                                            amount the Insurer will pay is $500,000, the policy limit (no deductible is
                                                                            applied).
                                                                    4.      The Insurer will not make any further payment under Policy D as the maximum
                                                                            amount payable under the highest single limit of liability applying to the loss of
                                                                            $1,000,000 under Policy A has been satisfied.

                                                                    The most the Insurer will pay for this loss is $1,000,000.
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                                                            (11)    Loss Sustained During Prior Insurance Not Issued By the Insurer Or Any Affiliate
                                                                    (i)    If the Company Discovers loss during the Policy Period, resulting directly from
                                                                           an Occurrence taking place during the policy period of any prior cancelled
                                                                           insurance that was issued to the Company or to a predecessor in interest by
                                                                           another insurer, and the period of time to discover loss under that insurance had
                                                                           expired, the Insurer will pay for the loss under this Coverage Section, provided:
                                                                           a.       this Coverage Section became effective at the time of cancellation of the
                                                                                    prior insurance; and
                                                                           b.       the loss would have been covered under this Coverage Section had it
                                                                                    been in effect at the time of the Occurrence.
                                                                    (ii)   In settling loss subject to this Condition:
                                                                           a.       the most the Insurer will pay for the entire loss is the lesser of the Limits
                                                                                    of Liability as indicated in Item 4.D of the Declarations applicable during
                                                                                    the period of loss, whether such limit was written under this Coverage
                                                                                    Section or was written under the prior cancelled insurance.
                                                                           b.       the Insurer will apply the applicable Deductible Amount as indicated in
                                                                                    Item 5.D of the Declarations to the amount of loss sustained under the
                                                                                    prior cancelled insurance.
                                                                    (iii)  The insurance provided under this section is subject to the following:
                                                                           a.       If loss covered under this Condition 6.(a)(11) is also partially covered
                                                                                    under Condition 6.(a)(10) above, the amount recoverable under this
                                                                                    Condition 6.(a)(11) is part of, not in addition to, the amount recoverable
                                                                                    under Condition 6.(a)(10) above.
                                                                           b.       For loss covered under this Condition 6.(a)(11) the amount recoverable
                                                                                    under this section is part of, not in addition to, the Limit of Liability as
                                                                                    indicated in Item 4 of the Declarations applicable to the loss covered
                                                                                    under this Coverage Section and is limited to the lesser of the amount
                                                                                    recoverable under:
                                                                                    i.       this Coverage Section as of its effective date; or
                                                                                    ii.      the prior cancelled insurance had it remained in effect.

                                                            (12)    Ownership of Property; Interests Covered
                                                                    The property covered under this Coverage Section is limited to property:
                                                                    (i)    that the Company owns or leases; or
                                                                    (ii)   that the Company holds for others whether or not the Company is legally liable
                                                                           for the loss of such property.
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                                                                    However, this Coverage Section is for the Company’s benefit only. It provides no rights
                                                                    or benefits to any other person or organization. Any claim for loss that is covered under
                                                                    this Coverage Section must be presented by the Company.

                                                            (13)    Records
                                                                    The Company must keep records of all property covered under this Coverage Section so
                                                                    the Insurer can verify the amount of any loss.

                                                            (14)    Recoveries
                                                                    Any recoveries, whether effected before or after any payment under this Coverage
                                                                    Section, whether made by the Insurer or the Company, shall be applied net of the
                                                                    expense of such recovery:



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                                                                    (i)     first, to the Company in satisfaction of the Company’s covered loss in excess of
                                                                            the amount paid under this Coverage Section;
                                                                    (ii)    second, to the Insurer in satisfaction of amounts paid in settlement of the
                                                                            Company’s claim;
                                                                    (iii)   third, to the Company in satisfaction of any Deductible Amount as indicated in
                                                                            Item 5 of the Declarations; and
                                                                    (iv)    fourth, to the Company in satisfaction of any loss not covered under this
                                                                            Coverage Section.
                                                                    Recoveries do not include any recovery:
                                                                    (i)     from insurance, suretyship, reinsurance, security or indemnity taken for the
                                                                            Insurer’s benefit; or
                                                                    (ii)    of original Securities after duplicates of them have been issued.
                                                                    .
                                                            (15)    Transfer Of The Company’s Rights And Duties Under This Coverage Section
                                                                    The Company’s rights and duties under this Coverage Section may not be transferred
                                                                    without the Insurer’s written consent.

                                                            (16)    Transfer Of The Company’s Rights Of Recovery Against Others To The Insurer
                                                                    The Company must transfer to the Insurer all of its rights of recovery against any
                                                                    person or organization for any loss the Company sustained and for which the Insurer
                                                                    has paid or settled. The Company must also do everything necessary to secure those
                                                                    rights and do nothing after loss to impair them.

                                                            (17)    Valuation-Settlement
                                                                    (i)    The value of any loss for purposes of coverage under this Coverage Section shall
                                                                           be determined as follows:
                                                                           (a)     loss of Money but only up to and including its face value. The Insurer
                                                                                   will, at the Company’s option, pay for loss of Money issued by any
                                                                                   country other than the United States of America:
                                                                                   1.        At face value in the Money issued by that country; or
                                                                                   2.        In the United States of America dollar equivalent determined by
                                                                                             the rate of exchange published in The Wall Street Journal on the
                                                                                             day the loss was Discovered.
                                                                           (b)     loss of Securities but only up to and including their value at the close of
                                                                                   business on the day the loss was Discovered. The Insurer may, at its
                                                                                   option:
                                                                                   1.        pay the market value of such Securities or replace them in
                                                                                             kind, in which event the Company must assign to the
                                                                                             Insurer all the Company’s rights, title and interest in and
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                                                                                             to those Securities; or
                                                                                   2.        pay the cost of any Lost Securities Bond required in
                                                                                             connection with issuing duplicates of the Securities.
                                                                                             However, the Insurer will be liable only for the payment of so
                                                                                             much of the cost of the bond as would be charged for a bond
                                                                                             having a penalty not exceeding the lesser of the:
                                                                                             (i)      market value of the Securities at the close of business on
                                                                                                      the day the loss was Discovered; or
                                                                                             (ii)     the Limit of Liability applicable to the Securities.




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                                                                              (c)     loss of or damage to Other Property or loss from damage to the
                                                                                      Premises or its exterior for the replacement cost of the property without
                                                                                      deduction for depreciation. However, the Insurer will not pay more than
                                                                                      the least of the following:
                                                                                      1.       the cost to replace the lost or damaged property with property of
                                                                                               comparable material and quality and used for the same purpose;
                                                                                      2.       the amount the Company actually spends that is necessary to
                                                                                               repair or replace the lost or damaged property; or
                                                                                      3.       the Limit of Liability applicable to the lost or damaged property.
                                                                                      With regard to Conditions 6.(a)(17)(i)(c)(1) through 6.(a)(17)(i)(c)(3),
                                                                                      the Insurer shall not pay on a replacement cost basis for any loss or
                                                                                      damage:
                                                                                      i.       until the lost or damaged property is actually repaired or
                                                                                               replaced; and
                                                                                      ii.      unless the repairs or replacement are made as soon as reasonably
                                                                                               possible after the loss or damage.
                                                                                      If the lost or damaged property is not repaired or replaced, the Insurer
                                                                                      will pay on an actual cash value basis.
                                                                      (ii)    the Insurer will, at the Company’s option, settle loss or damage to property
                                                                              other than Money:
                                                                              (a)     in the Money of the country in which the loss or damage occurred; or
                                                                              (b)     in the United States of America dollar equivalent of the Money of the
                                                                                      country in which the loss or damage occurred determined by the rate of
                                                                                      exchange published in The Wall Street Journal on the day the loss was
                                                                                      Discovered.
                                                                      (iii)   Any property that the Insurer pays for or replaces becomes the Insurer’s
                                                                              property.

                                                      (b)      Conditions Applicable To Insuring Agreement A
                                                               (1)    Termination As To Any Employee
                                                                      This Insuring Agreement terminates as to any Employee:
                                                                      a.       as soon as the Company’s Corporate Compliance, Ethics or Responsibility
                                                                               Officer, General Counsel, any Employee of the Risk Management Department or
                                                                               Human Resources Department, or, any corporate Vice President or above not in
                                                                               collusion with the Employee; or
                                                                      b.       as soon as any of the Company’s partners, Managers, Members, officers,
                                                                               directors, or trustees not in collusion with the Employee;
                                                                      learn of Theft or any other dishonest act committed by the Employee whether
                                                                      before or after the Employee became employed by the Company.
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                                                                      c.       on the date specified in a notice mailed to the Parent Company. That date will
                                                                               be at least thirty (30) days after the date of mailing. The Insurer will mail or
                                                                               deliver its notice to the Parent Company's last mailing address known to the
                                                                               Insurer. If notice is mailed, proof of mailing will be sufficient proof of notice.

                                                      (c)      Conditions Applicable To Insuring Agreement B

                                                               (1)    Deductible Amount
                                                                      The Deductible Amount as provided in Item 5.D of the Declarations does not apply to
                                                                      legal expenses paid under Insuring Agreement B.

                                                               (2)    Electronic And Mechanical Signatures

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                                                                      The Insurer will treat signatures that are produced or reproduced electronically,
                                                                      mechanically or by other means the same as handwritten signatures.

                                                               (3)    Proof Of Loss
                                                                      The Company must include with its proof of loss any instrument involved in that loss,
                                                                      or, if that is not possible, an affidavit setting forth the amount and cause of loss.

                                                      (d)      Conditions Applicable To Insuring Agreements D and E

                                                               (1)    Armored Motor Vehicle Companies
                                                                      a.    Under Insuring Agreement E, the Insurer will only pay for the amount of loss
                                                                            the Company cannot recover:
                                                                            (i)     under the Company’s contract with the armored motor vehicle company;
                                                                                    and
                                                                            (ii)    from any insurance or indemnity carried by, or for the benefit of
                                                                                    customers of the armored motor vehicle company.

                                                               (2)    Special Limit of Liability For Specified Property
                                                                      The Insurer will only pay up to $5,000 for any one Occurrence of loss of or damage to:
                                                                      a.      precious metals, precious or semi-precious stones, pearls, furs, or completed or
                                                                              partially completed articles made of or containing such materials that constitute
                                                                              the principal value of such articles; or
                                                                      b.      manuscripts, drawings, or records of any kind, or the cost of reconstructing them
                                                                              or reproducing any information contained in them.

                                                      (e)      Conditions Applicable To Insuring Agreement F

                                                               (1)    Special Limit of Liability For Specified Property
                                                                      The Insurer will only pay up to $5,000 for any one Occurrence of loss of or damage to
                                                                      manuscripts, drawings, or records of any kind, or the cost of reconstructing them or
                                                                      reproducing any information contained in them.
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                                                      Endorsement No.: 1
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company




                                                                                              OFAC EXCLUSION
                                                                                             (all Coverage Sections)

                                                      It is understood and agreed that Clause 3, EXCLUSIONS, of all applicable Coverage Sections is
                                                      amended by adding the following exclusion:

                                                          This policy shall not cover any Loss in connection with any Claim in the event that
                                                          such coverage would not be in compliance with any United States of America
                                                          economic or trade sanctions, laws or regulations, including but not limited to the U.S.
                                                          Treasury Department’s Office of Foreign Assets Control, or any similar foreign,
                                                          federal, state or statutory law or common law.




                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.
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                                                                                                                                Authorized Representative




                                                      CVS FL 10005 PPVNP (07/08)
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                                                      Endorsement No.: 2
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company




                                                                                    ADD FULL NUCLEAR EXCLUSION

                                                      It is understood and agreed that Clause 3, EXCLUSIONS, of the Directors & Officers Liability
                                                      Coverage Section is amended by adding the following exclusion:


                                                          This policy shall not cover any Loss in connection with any Claim alleging, arising out
                                                          of, based upon or attributable to nuclear fission, nuclear fusion, radioactive contamination
                                                          or the hazardous properties of any nuclear materials.




                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.
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                                                                                                                                  Authorized Representative




                                                      CVS FL 10013 PPVNP (03-08)
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                                                      Endorsement No.: 3
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company

                                                                                   TEXAS AMENDATORY ENDORSEMENT

                                                      This endorsement modifies insurance coverage provided under the RESOLUTE PORTFOLIO FOR
                                                      PRIVATE COMPANIES INSURANCE POLICY.

                                                      COVERAGE PART: GENERAL TERMS AND CONDITIONS SECTION

                                                      It is understood and agreed:

                                                      A. The fifth and sixth paragraphs of Clause 3. LIMITS OF LIABILITY are deleted and replaced by the
                                                         following:

                                                          If any Aggregate Limit of Liability as set forth in Item 4 A. or 4 B. of the Declarations is exhausted by
                                                          the payment of Loss, all obligations of the Insurer under this Policy as respects the applicable
                                                          Coverage Section(s) will be completely fulfilled and the Insurer will have no further obligations under
                                                          this policy of any as respects the applicable Coverage Section(s).

                                                          Any payment of Loss under any Aggregate Limit of Liability as set forth in Item 4 A. or 4 B. of the
                                                          Declarations shall reduce and may exhaust the Aggregate Policy Limit of Liability as set forth in Item 4
                                                          C. of the Declarations. If the Aggregate Policy Limit of Liability is exhausted by the payment of such
                                                          Loss, the Insurer will have no further obligations of any kind as respects this policy.

                                                      B. Clause 6. DEFENSE OF CLAIM AND SETTLEMENT is amended by the following:

                                                          The Insurer shall provide written notice to the Insured of an initial offer to settle or compromise a
                                                          Claim against the Insureds, not less than ten (10) days after the date on which the offer to settle or
                                                          compromise is made, unless the Insured advised the Insurer of such initial offer to settle or
                                                          compromise the Claim. The Insurer shall also provide written notice to the Insured of the
                                                          settlement of a Claim against an Insured, not less than thirty (30) days after the settlement.

                                                      C. Clause 8. DISCOVERY CLAUSE is deleted and replaced by the following:

                                                         With respect to all Coverage Sections, except the Crime and Fidelity Coverage Section, if the
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                                                         Company or the Insurer refuses to renew one or more Coverage Sections of this policy, or if this
                                                         policy is terminated by the Insurer for any reason (except for non-payment of premium), or if an
                                                         Organizational Change as defined in Clause 13 occurs, the Insured(s) shall receive, without
                                                         payment of an additional premium, a Discovery Period of thirty (30) days following the effective date
                                                         of such non-renewal, termination or Organizational Change. This thirty (30) day period is called the
                                                         “Automatic Discovery Period” in this policy.

                                                         With respect to all Coverage Sections, except the Crime and Fidelity Coverage Section, if the
                                                         Company or the Insurer refuses to renew one or more Coverage Sections of this policy, or if this
                                                         policy is terminated by the Insurer for any reason (except for non-payment of premium), or if an
                                                         Organizational Change as defined in Clause 13 occurs, the Insured(s) shall have the right to
                                                         purchase a Discovery Period of up to six years following the effective date of the Automatic
                                                         Discovery Period. In the event of the non-renewal of one or more Coverage Sections of this policy, the
                                                         Insured may purchase a Discovery Period solely as respects the Coverage Section(s) that has been
                                                         non-renewed.
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                                                        The Insured’s right to purchase a Discovery Period shall lapse unless written notice of election to
                                                        purchase such Discovery Period and the additional premium for such Discovery Period is received by
                                                        the Insurer or its authorized agent within sixty (60) days after such non-renewal, termination or
                                                        Organizational Change. The additional premium for a Discovery Period of one or two years is set
                                                        forth in Item 8 of the Declarations and shall be determined by multiplying the applicable percentage
                                                        set forth in Item 8 of the Declarations by the premium for each applicable Coverage Section(s) as set
                                                        forth in Item 7 of the Declarations. The additional premium for a Discovery Period of more than two
                                                        years shall be determined by the Insurer.

                                                        During such Automatic Discovery Period and such Discovery Period, the Insured may provide the
                                                        Insurer with written notice, pursuant to Clause 5 of this policy, of Claims made against an Insured
                                                        solely with respect to Wrongful Acts occurring prior to the effective date of the non-renewal or
                                                        termination of the policy or the effective date of the Organizational Change and otherwise covered
                                                        by this policy.

                                                        The Limit of Liability for the Automatic Discovery Period and, if purchased, the Discovery Period,
                                                        shall be part of, and not in addition to, the applicable Limits of Liability set forth in Item 4 of the
                                                        Declarations.

                                                        The Discovery Period premium shall be fully earned at the inception of the Discovery Period. The
                                                        Discovery Period is non-cancellable.

                                                      D. The first paragraph of Clause 12. CANCELLATION AND NON RENEWAL CLAUSE is
                                                         amended by the addition of the following:

                                                         The customary short rate return premium shall be calculated by multiplying the pro rata unearned
                                                         premium by ninety percent (90%).

                                                      E. The second paragraph of Clause 12. CANCELLATION AND NON RENEWAL CLAUSE is
                                                         amended by the addition of the following:

                                                        The notice of cancellation shall state the reason for cancellation. The Insurer shall not cancel this
                                                        policy based solely on the fact that the Insured is an elected official.

                                                      F. The last paragraph of Clause 12. CANCELLATION AND NON RENEWAL CLAUSE shall be
                                                          amended by the addition of the following:

                                                        The notice of non-renewal shall state the reason for non-renewal. If notice of non-renewal is delivered
                                                        or mailed later than the sixtieth (60th) day prior to the expiration of the Policy Period, the policy's
                                                        coverage shall remain in effect until the sixty-first (61st) day after the date on which the notice is
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                                                        delivered or mailed. Earned premium for any period of coverage that extends beyond the expiration of
                                                        the Policy Period shall be computed pro rata based on the policy’s current rate. If this policy is so
                                                        extended, such period of extended coverage shall be part of and not in addition to the Policy Period.
                                                        The Insurer shall not refuse to renew this policy based solely on the fact that the Insured is an elected
                                                        official.

                                                      G. The third sentence of Clause 13. ORGANIZATIONAL CHANGES is deleted and replaced by the
                                                         following:

                                                        This policy shall be non-cancellable upon the effective time of the Organizational Change.




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                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




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                                                      Endorsement No.: 4
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company


                                                                                   TEXAS AMENDATORY ENDORSEMENT

                                                      This endorsement modifies insurance coverage provided under the RESOLUTE PORTFOLIO FOR
                                                      PRIVATE COMPANIES INSURANCE POLICY.
                                                      COVERAGE PART: DIRECTORS AND OFFICERS LIABILITY COVERAGE SECTION

                                                      It is understood and agreed:

                                                      A. Paragraph (i)(ii) of Clause 3. EXCLUSIONS is amended by inserting the word “express” before the
                                                         word
                                                         “approval”.


                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                                                Authorized Representative
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                                                      Endorsement No.: 5
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company


                                                                                                IMPORTANT NOTICE


                                                      To obtain information or make a complaint:

                                                      You may call Starr Indemnity and Liability Company’s toll-free telephone number for information
                                                      (including information regarding claims) or to make a complaint at:

                                                                                                       866-519-2522

                                                      You may also write the Insurer at:

                                                                                         Starr Indemnity and Liability Company
                                                                                            Attn: Financial Lines Department
                                                                                                    399 Park Avenue
                                                                                                       8th Floor
                                                                                                  New York, NY 10022

                                                      You may contact the Texas Department of Insurance to obtain information on companies, coverages,
                                                      rights or complaints at:

                                                                                                      1-800-252-3439

                                                      You may write the Texas Department of Insurance:

                                                                                                  P.O. Box 149104
                                                                                               Austin, TX 78714-9104
                                                                                                Fax: (512) 475-1771
                                                                                           Web: http://www.tdi.state.tx.us
                                                                                      Email: ConsumerProtection@tdi.state.tx.us

                                                      PREMIUM OR CLAIM DISPUTES:
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                                                      Should you have a dispute concerning your premium or about a Claim you should first contact Starr
                                                      Indemnity and Liability Company. If the dispute is not resolved, you may contact the Texas Department
                                                      of Insurance.

                                                      ATTACH THIS NOTICE TO YOUR POLICY: This notice is for information only and does not
                                                      become a part or condition of the attached document.




                                                      CVS FL 10407 PPVNP (10/08)
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                                                      Endorsement No.: 6
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company




                                                                                        AMEND DECLARATIONS PAGE:
                                                                                     CHANGE DISCOVERY PERIOD PREMIUM

                                                      It is understood and agreed that Item 8 of the Declarations, DISCOVERY PERIOD, is deleted in its
                                                      entirety and replaced with the following:

                                                        ITEM 8: DISCOVERY PERIOD

                                                                   A.   One Year: 100% of the applicable premium

                                                                   B.   Two to Six Years: premium to be determined




                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                                              Authorized Representative
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                                                      CVS FL 10737 PPVNP (3/10)
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                                                      Endorsement No.: 7
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company



                                                                                              RELIANCE ENDORSEMENT
                                                                                                  (other applications)

                                                      In granting coverage under this policy, it is understood and agreed that the Insurer has relied upon the
                                                      statements and representations contained in all applications, together with attachments and any other
                                                      materials submitted for this policy (including all such previous policy applications, and their attachments
                                                      and materials, for which this policy is a renewal or succeeds in time), as being accurate and complete. It
                                                      is further understood and agreed that the Insureds represent to the Insurer that the statements and
                                                      representations made in such application(s) were accurate on the date such statements and
                                                      representations were so given. All such statements and representations in such application(s) are the basis
                                                      of this policy and are to be considered as incorporated into this policy.




                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.
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                                                                                                                                Authorized Representative




                                                      CVS FL 10036 PPVNP (1/09)
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                                                      Endorsement No.: 8
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company



                                                                                      STATE AMENDATORY INCONSISTENCY


                                                      It is understood and agreed that the General Terms & Conditions Section is amended by adding the
                                                      following:

                                                               It is understood and agreed that in the event that there is an inconsistency between a state
                                                               amendatory attached to this policy and any other term or condition of this policy, then
                                                               where permitted by law, the Insurer shall apply those terms and conditions of either the
                                                               amendatory or the policy which are more favorable to the Insured.



                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                                                Authorized Representative
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                                                      CVS FL 10018 PPVNP (07/08)
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                                                      Endorsement No.: 9
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company


                                                                     AMEND CANCELLATION CLAUSE – INSURER RATING DOWNGRADE


                                                      It is understood and agreed that Clause 12. CANCELLATION AND NON RENEWAL CLAUSE, of the
                                                      General Terms and Conditions Coverage Section is amended by adding the following at the end:

                                                                   Notwithstanding anything to the contrary herein, this policy may also be cancelled by the
                                                                   Parent Company immediately upon written notice to the Insurer by the Parent Company if
                                                                   the Insurer's financial strength rating for AM Best falls below "A-“ and the Insurer shall
                                                                   return the customary pro-rata unearned proportion of the premium.




                                                                                                                                   Authorized Representative




                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.
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                                                      CVS FL 10995 PPV (11/10)
                                                                                                              1
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                                                      Endorsement No.: 10
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company



                                                                                  100% ALLOCATION DEFENSE COSTS

                                                      I. It is understood and agreed that Clause 7. ALLOCATION of the General Terms & Conditions
                                                      Section is deleted and replaced by the following:

                                                                   7. ALLOCATION


                                                                       (a) If both Loss covered under this policy and loss not covered under this policy
                                                                       are incurred by the Insureds on account of any Claim because such Claim
                                                                       against the Insureds includes both covered and non-covered matters and/or
                                                                       parties, then coverage under this Coverage Section with respect to such Claim
                                                                       shall apply as follows:
                                                                                (i) Defense Costs: One hundred percent (100%) of reasonable and
                                                                                necessary Defense Costs incurred by the Insured on account of such
                                                                                Claim will be considered covered Loss; and
                                                                                (ii) Loss other than Defense Costs: All remaining loss incurred by the
                                                                                Insured on account of such Claim shall be allocated by the Insurer
                                                                                between covered Loss and non-covered loss based on the relative legal
                                                                                and financial exposures of the parties to such matters and, in the event of
                                                                                a settlement in such Claim, also based on the relative benefits to the
                                                                                Insureds from such settlement.

                                                                       (b) If an allocation of Loss cannot be agreed to by the Insurer and the Insured:
                                                                       (i) the Insurer shall pay those amounts which it believes to be fair and equitable
                                                                       until an amount shall be agreed upon or determined pursuant to the provisions of
                                                                       this policy; and
                                                                       (ii) there will be no presumption of allocation of Loss in any arbitration, suit or
                                                                       other proceeding.
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                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                                        Authorized Representative




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                                                      Endorsement No.: 11
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company




                                                                                          ADD LIBERALIZATION CLAUSE
                                                                                         (General Terms and Conditions Section)

                                                      It is understood and agreed that the General Terms and Conditions Section is amended by adding the
                                                      following at the end:


                                                      LIBERALIZATION CLAUSE

                                                      In the event that the Insurer shall begin selling on an admitted basis in the state indicated in Item 1 of the
                                                      Declarations, either (1) a new private company primary policy form, or coverage section, sold as a
                                                      replacement of or alternative to this; or (2) an enhancement of coverage endorsement to this policy form,
                                                      which is to be made available to all Insureds and for which no additional premium is required, then the
                                                      Parent Company shall have the right to such new policy or such new coverage enhancement
                                                      endorsement subject to all underwriting information or particulars as the Insurer may require for such
                                                      new policy, coverage section or enhanced coverage.




                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.
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                                                                                                                                Authorized Representative




                                                      CVS FL 10977 PV (9/10)
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                                                      Endorsement No.: 12
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company



                                                      AMEND DEFENSE OF CLAIM AND SETTLEMENT CLAUSE – 80% APPLIES TO DEFENSE
                                                                  COSTS AND 10% RETENTION REDUCTION FOR CONSENT


                                                      It is understood and agreed that the General Terms & Conditions Section is amended by deleting the sixth
                                                      paragraph of Clause 6, DEFENSE OF CLAIM AND SETTLEMENT, in its entirety and replacing with
                                                      the following:

                                                              The Insurer shall have the right to investigate and conduct negotiations and, with the Insured’s
                                                              consent, which shall not be unreasonably withheld, enter into the settlement of any Claim that the
                                                              Insurer deems appropriate.

                                                              In the event the Insured refuses to consent to a settlement acceptable to the claimant in
                                                              accordance with the Insurer’s recommendation, the Insurer’s liability for Loss on account of
                                                              such Claim shall not exceed: (1) the amount for which the Insurer could have settled the Claim;
                                                              plus (2) eighty percent (80%) of covered Loss in excess of the amount for which the Insurer
                                                              could have settled the Claim. In the event the Insured consents to such settlement recommended
                                                              by the Insurer, then the Insured’s applicable Retention Amount stated in Item 5. of the
                                                              DECLARATIONS shall be reduced by ten (10%) percent for such Claim. However, in no event
                                                              shall the Insurer’s liability exceed the applicable Limit of Liability as set forth in Item 4. of the
                                                              Declarations.




                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.
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                                                                                                                                Authorized Representative




                                                      CVS FL 10771 PV 4/10                                    1
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                                                      Endorsement No.: 13
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company


                                                             AMEND REPRESENTATIONS AND SEVERABILITY-TOP 3 IMPUTE TO COMPANY
                                                                             (General Terms and Conditions Section)



                                                          It is understood and agreed that Clause 10. REPRESENTATIONS AND SEVERABILITY of the
                                                          General Terms and Conditions Section is deleted in its entirety and replaced by the following:


                                                          10. REPRESENTATIONS AND SEVERABILITY

                                                              It is agreed that the Insurer has relied upon the information contained in the Application, as
                                                              applicable to each Coverage Section, in issuing this policy. In regard to the statements,
                                                              warranties, representations and information contained in the Application, no knowledge of any
                                                              Insured shall be imputed to any other Insured for the purpose of determining whether coverage
                                                              is available under this policy for any Claim made against such Insured. However, the
                                                              knowledge possessed by any Insured Person who is a past or current chief executive officer,
                                                              chief financial officer, or chief operating officer of the Company shall be imputed to the
                                                              Company.




                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.
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                                                                                                                                Authorized Representative




                                                      CVS FL 10878 PVP (5/10)
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                                                      Endorsement No.: 14
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company



                                                                 AMEND SUBROGATION FINAL ADJUDICATION ENDORSEMENT


                                                      It is understood and agreed that Clause 19. SUBROGATION of the General Terms & Conditions
                                                      Section is deleted in its entirety and replaced by the following:


                                                              19.      SUBROGATION

                                                              In addition to any right of subrogation existing at law, in equity or otherwise, in the event
                                                              of any payment by the Insurer under this policy, the Insurer shall be subrogated to the
                                                              extent of such payment to all of the Insured(s)’ rights of recovery; provided, however,
                                                              that the Insurer shall not exercise that right until the legal matter underlying the Claim
                                                              upon which such payment is based is subject to a final judgment or adjudication. The
                                                              Insured(s) shall execute all papers required (including those documents necessary for the
                                                              Insurer to bring suit or other form of proceeding in their name) and do everything that
                                                              may be necessary to pursue and secure such rights.




                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.
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                                                                                                                        Authorized Representative




                                                      CVS FL 10834 PPV (4/10)
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                                                      Endorsement No.: 15
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company

                                                       AMEND CONDUCT EXCLUSIONS – ADD NON-APPEALABLE, DELETE IMPROPER
                                                                  & IMPUTATION TO COMPANY CEO & CFO ONLY
                                                                      (Directors & Officers Liability Coverage Section)

                                                          It is understood and agreed that Clause 3, EXCLUSIONS, of the Directors & Officers
                                                          Liability Coverage Section is amended by deleting Exclusions (a), (b) and (c) and
                                                          replacing them with the following:

                                                          This policy shall not cover any Loss in connection with any Claim:

                                                            (a)    arising out of, based upon or attributable to the gaining of any profit or advantage or
                                                                   illegal remuneration if a final non-appealable judgment or adjudication establishes
                                                                   that such Insured was not legally entitled to such profit or advantage or that such
                                                                   remuneration was improper or illegal;

                                                            (b)    arising out of, based upon or attributable to any deliberate fraudulent act or any
                                                                   willful violation of law by an Insured if a final non-appealable judgment or
                                                                   adjudication establishes that such act or violation occurred;

                                                            (c)    arising out of, based upon or attributable to the purchase or sale by an Insured of
                                                                   securities of the Company within the meaning of Section 16(b) of the Securities
                                                                   Exchange Act of 1934 and any amendments thereto or similar provisions of any state
                                                                   statutory law if a final non-appealable judgment or adjudication establishes that a
                                                                   violation of Section 16(b) occurred;

                                                          In determining the applicability of Exclusions (a), (b) and (c) the facts pertaining to, the
                                                          knowledge possessed by, or any Wrongful Act committed by, any Insured shall not be
                                                          imputed to any other Insured in respect of the coverage afforded under Clause I. Insuring
                                                          Agreements A. and B.; however, the facts pertaining to, the knowledge possessed by, or any
                                                          Wrongful Act committed by, an Insured Person who is a past or current chief executive
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                                                          officer, or chief financial officer of the Company shall be imputed to the Company in
                                                          respect of the coverage afforded under Clause I. Insuring Agreements C.


                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                                        Authorized Representative




                                                      CVS FL 10871 PV (5-10)
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                                                      Endorsement No.: 16
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company




                                                                                         ANTI - TRUST EXCLUSION –
                                                                                         APPLIES TO ENTITY ONLY
                                                                                           (D&O Coverage Section)

                                                      It is understood and agreed that Clause 3, EXCLUSIONS, of the Directors & Officers Liability
                                                      Coverage Section is amended by adding the following exclusion:

                                                          This policy shall not cover any Loss in connection with any Claim alleging, arising
                                                          out of, based upon or attributable to any violation of any law, whether statutory,
                                                          regulatory or common, as respects any of the following: anti-trust, business
                                                          competition, unfair trade practices or tortious interference in another’s business or
                                                          contractual relationships; provided, however, that this exclusion shall apply only to
                                                          the Company.




                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.
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                                                                                                                        Authorized Representative




                                                      CVS FL 10093 PV (07/08)
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                                                      Endorsement No.: 17
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company




                                                                                     AMEND CONTRACT EXCLUSION
                                                                                        (D&O Coverage Section)


                                                      It is understood and agreed that Exclusion (e) of Clause 3, EXCLUSIONS, of the Directors &
                                                      Officers Liability Coverage Section is deleted and replaced by the following exclusion:


                                                          (e) based upon, arising from, or in consequence of any actual or alleged liability of any
                                                              Insured under any express contract or agreement, except to the extent that such
                                                              Insured would have been liable in the absence of such contract or agreement;




                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.
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                                                                                                                                  Authorized Representative




                                                      CVS FL 10087 PV (07/08)
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                                                      Endorsement No.: 18
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company



                                                                                        AMEND DEFINITION OF COMPANY
                                                                                           (General Terms & Conditions)


                                                      It is understood and agreed that Definition (c), “Company”, of the General Terms & Conditions Section
                                                      is amended to include the following:

                                                      ZG Real Estate Holdings, Ltd.
                                                      AHG-C Hardy Residential, LP.
                                                      ZG Real Estate Management Group, Inc.
                                                      ZG Investment Properties, LTD.
                                                      Eastwood Terrace and Oakhill Plaza, LLC.
                                                      Gulf Coast Arms GP, LLC.
                                                      Gulf Coast Arms, Ltd.



                                                      It is further understood and agreed that this endorsement shall apply solely to the following Coverage
                                                      Section(s):


                                                      Directors & Officers Liability



                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.
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                                                                                                                                Authorized Representative




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                                                      Endorsement No.: 19
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company


                                                                                       AMEND DEFINITION OF COMPANY
                                                                                          (General Terms & Conditions)


                                                      It is understood and agreed that Definition (c), “Company”, of the General Terms & Conditions Section is
                                                      amended to include the following:

                                                      Zieben Homes GP
                                                      Zieben Homes Ltd
                                                      Estate of Herbert Zieben


                                                      It is further understood and agreed that this endorsement shall apply solely to the following Coverage
                                                      Section(s):




                                                      Directors & Officers Liability
                                                      Crime & Fidelity




                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.
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                                                                                                                   AUTHORIZED REPRESENTATIVE




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                                                      Endorsement No.: 20
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company

                                                                                                LOSS PAYABLE

                                                                                                   SCHEDULE

                                                       Name Of Loss Payee:
                                                       Hunt Capital Partners Tax Credit Fund 2011-3, LP ISAOA ATIMA
                                                       c/o Alden Pacific Asset Management LLC

                                                       Address Of Loss Payee:
                                                       1225 17th Street Suite 1400
                                                       Denver CO 80202
                                                       ATTN: Insurance Monitoring

                                                       Information required to complete this Schedule, if not shown above, will be shown in the
                                                       Declarations.

                                                      It is understood and agreed that:

                                                      1. The Parent Company agrees that any loss payable under this insurance shall be paid to the
                                                         Loss Payee shown in the Schedule as its interests may appear and any such payment shall
                                                         constitute payment to the Parent Company. The Insurer agrees that it will make all such
                                                         payments to the Loss Payee, and the Insurer will not make any payment solely to the Parent
                                                         Company unless the Insurer receives a request in writing from the Loss Payee to make such
                                                         payment to the Parent Company.

                                                      2. This insurance is for the Parent Company benefit only. It provides no rights or benefits to
                                                         any other person or organization, including the Loss Payee, other than to receive payment for
                                                         loss as set forth in this endorsement.

                                                         Any claim for loss that is covered under this insurance must be presented by the Parent
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                                                         Company.


                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                                            Authorized Representative




                                                      CVS FL 10923 PV (7/10)
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                                                      Endorsement No.: 21
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company

                                                                                                     LOSS PAYABLE

                                                                                                        SCHEDULE

                                                       Name Of Loss Payee:
                                                       FNBC Leasing Corporation
                                                       C/O JPMorgan Capital Corporation, Housing Investments

                                                       Address Of Loss Payee:
                                                       21 S. Clark 12th Floor
                                                       Chicago, IL 60603-0502
                                                       Attn: Jon Zywiciel

                                                       Information required to complete this Schedule, if not shown above, will be shown in the
                                                       Declarations.

                                                      It is understood and agreed that:

                                                      1. The Parent Company agrees that any loss payable under this insurance shall be paid to the
                                                         Loss Payee shown in the Schedule as its interests may appear and any such payment shall
                                                         constitute payment to the Parent Company. The Insurer agrees that it will make all such
                                                         payments to the Loss Payee, and the Insurer will not make any payment solely to the Parent
                                                         Company unless the Insurer receives a request in writing from the Loss Payee to make such
                                                         payment to the Parent Company.

                                                      2. This insurance is for the Parent Company benefit only. It provides no rights or benefits to
                                                         any other person or organization, including the Loss Payee, other than to receive payment for
                                                         loss as set forth in this endorsement.

                                                          Any claim for loss that is covered under this insurance must be presented by the Parent
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                                                          Company.


                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                                                    Authorized Representative




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                                                      Endorsement No.: 22
                                                      This endorsement, effective: November 3, 2016
                                                      (at 12:01 a.m. Standard Time at the address of the Named Insured as shown in Item 1 of the Declarations)
                                                      Form a part of Policy No.: 1000057336161
                                                      Issued to: AHG Properties, LLC
                                                      By: Starr Indemnity & Liability Company

                                                                                                     LOSS PAYABLE

                                                                                                        SCHEDULE

                                                       Name Of Loss Payee:
                                                       Greystone Funding Corporation
                                                       Its successors and/or assigns ATIMA


                                                       Address Of Loss Payee:
                                                       419 Belle Air Lane
                                                       Warrenton, VA 20186


                                                       Information required to complete this Schedule, if not shown above, will be shown in the
                                                       Declarations.

                                                      It is understood and agreed that:

                                                      1. The Parent Company agrees that any loss payable under this insurance shall be paid to the
                                                         Loss Payee shown in the Schedule as its interests may appear and any such payment shall
                                                         constitute payment to the Parent Company. The Insurer agrees that it will make all such
                                                         payments to the Loss Payee, and the Insurer will not make any payment solely to the Parent
                                                         Company unless the Insurer receives a request in writing from the Loss Payee to make such
                                                         payment to the Parent Company.

                                                      2. This insurance is for the Parent Company benefit only. It provides no rights or benefits to
                                                         any other person or organization, including the Loss Payee, other than to receive payment for
                                                         loss as set forth in this endorsement.
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                                                          Any claim for loss that is covered under this insurance must be presented by the Parent
                                                          Company.


                                                      ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                                                    Authorized Representative




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                                                                                       Starr Surplus Lines Insurance Company
                                                                      399 Park Ave, New York, NY* Tel (646) 227-6377* Fax (631) 685-6738

                                                                                              RESOLUTE PORTFOLIOSM
                                                                                                For Private Companies
                                                            (Inclusive of Directors & Officers Liability, Employment Practices Liability, Fiduciary Liability and Crime & Fidelity)
                                                                                      INSURANCE RENEWAL APPLICATION-MIDWEST

                                                      NOTICE: APPLICABLE TO ALL COVERAGE SECTIONS EXCEPT CRIME & FIDELITY,
                                                      THE INSURANCE POLICY FOR WHICH THIS RENEWAL APPLICATION IS SUBMITTED
                                                      PROVIDES CLAIMS-MADE AND REPORTED COVERAGE, WHICH GENERALLY APPLIES
                                                      ONLY TO CLAIMS FIRST MADE, AGAINST THE INSUREDS DURING THE POLICY PERIOD
                                                      OR ANY DISCOVERY PERIOD, IF APPLICABLE, AND REPORTED IN WRITING TO THE
                                                      INSURER PURSUANT TO THE TERMS THEREIN. THE LIMIT OF LIABILITY TO PAY
                                                      JUDGMENTS OR SETTLEMENTS WILL BE REDUCED AND MAY BE EXHAUSTED BY
                                                      PAYMENT OF DEFENSE COSTS. DEFENSE COSTS WILL BE APPLIED AGAINST THE
                                                      RETENTION AMOUNT.

                                                      THE LIMIT OF LIABILITY AVAILABLE TO PAY JUDGMENTS OR SETTLEMENTS
                                                      UNDER THE LIABILITY COVERAGE SECTIONS OF THIS POLICY SHALL BE REDUCED
                                                      AND MAY BE EXHAUSTED BY DEFENSE COSTS. THE INSURER IS NOT OBLIGATED TO
                                                      PAY ANY LOSS, INCLUDING DEFENSE COSTS, AFTER THE LIMIT OF LIABILITY HAS
                                                      BEEN EXHAUSTED BY PAYMENT OF LOSS, INCLUDING DEFENSE COSTS.

                                                      NOTICE TO MINNESOTA APPLICANTS: APPLICABLE TO ALL COVERAGE SECTIONS
                                                      EXCEPT CRIME & FIDELITY, THE POLICY FOR WHICH THIS APPLICATION IS SUBMITTED
                                                      IS WRITTEN ON A CLAIMS-MADE AND REPORTED BASIS SUBJECT TO ITS TERMS. THIS
                                                      POLICY APPLIES ONLY TO ANY CLAIM FIRST MADE AGAINST THE INSUREDS DURING THE
                                                      POLICY PERIOD OR, IF APPLICABLE, THE DISCOVERY PERIOD, PROVIDED SUCH CLAIM IS
                                                      REPORTED TO THE INSURER OR THE INSURER’S AGENT OR BROKER IN ACCORDANCE
                                                      WITH THE TERMS OF THE POLICY. THIS MEANS THAT ONLY CLAIMS ACTUALLY MADE
                                                      DURING THE POLICY PERIOD ARE COVERED UNLESS COVERAGE FOR A DISCOVERY
                                                      PERIOD IS PURCHASED. IF A DISCOVERY PERIOD IS NOT MADE AVAILABLE TO THE
                                                      INSURED, THE INSURED RISKS HAVING GAPS IN COVERAGE WHEN SWITCHING FROM
                                                      ONE COMPANY TO ANOTHER. MOREOVER, EVEN IF SUCH REPORTING PERIOD IS MADE
                                                      AVAILABLE TO THE INSURED, THE INSURED MAY STILL BE PERSONALLY LIABLE FOR
                                                      CLAIMS REPORTED AFTER THE PERIOD EXPIRES. CLAIMS-MADE POLICIES MAY NOT
                                                      PROVIDE COVERAGE FOR WRONGFUL ACTS COMMITTED BEFORE A FIXED
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                                                      RETROACTIVE DATE. RATES FOR CLAIM-MADE POLICIES ARE DISCOUNTED IN THE
                                                      EARLY YEARS OF A POLICY, BUT INCREASE STEADILY OVER TIME. AMOUNTS INCURRED
                                                      AS DEFENSE COSTS SHALL REDUCE AND MAY EXHAUST THE LIMIT OF LIABILITY.
                                                      PLEASE READ THIS POLICY CAREFULLY.
                                                      NOTICE: APPLICABLE TO ALL COVERAGE SECTIONS AND JURISDICTIONS: PLEASE
                                                      READ THE ENTIRE RENEWAL APPLICATION CAREFULLY, BEFORE SIGNING.




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                                                                                        8Starr Surplus Lines Insurance Company
                                                                        399 Park Ave, New York, NY* Tel (646) 227-6377* Fax (631) 685-6738

                                                      I.   GENERAL INFORMATION

                                                      1. Name of Company: AHG Properties, LLC
                                                      2. Address: 1980 Post Oak Blvd., Suite 2020
                                                         City: Houston                             State: TX                                    Zip Code:      77056
                                                      3. Nature of Business: Real Estate Developer and Owner

                                                      4.   Indicate below the Resolute PortfolioSM coverages for which the company seeks renewal.

                                                             •    Directors & Officers Liability
                                                                                                             •   Fiduciary Liability
                                                             •    Employment Practices Liability
                                                                                                             •   Crime and Fidelity

                                                      5.   Number of Employees (including Subsidaries):
                                                           Total: 12           Total US: 12             Full Time: 12             Part Time:
                                                      6.   Company’s total revenues as of the most recent fiscal year end:                        $
                                                      7.   Company’s total assets as of the most recent fiscal year end:                          $
                                                      8.   Cash flow from operations as of the most recent fiscal year end:                       $
                                                      9.   Is the Company in compliance with all debt and /or loan covenants?
                                                              If the answer is no, please attach a full explanation.
                                                                                                                                                  • Yes •      No

                                                      10. In the next 12 months is the Company contemplating (or has the Company completed within the last year) any actual
                                                          or proposed merger, acquisition, or divestment, any registration for a public offering or a private placement of
                                                          securities, any location, facility or office closings, consolidations or layoffs or any reorganization or arrangement with
                                                          creditors under federal or state law?
                                                                                                •     Yes
                                                                                                         •     No If the answer is yes, please attach a full explanation.

                                                      II. DIRECTORS & OFFICERS LIABILITY COVERAGE SECTION

                                                      1.   Over the past 12 months, has there been any change to the board of directors, executive officers
                                                           or senior management of the Company?
                                                                                                                                                  • Yes
                                                                                                                                                           •   No

                                                      2.   Has there been any change in the Company’s ownership structure within the last twelve months?
                                                           If the answer is yes, please attach a full description of ownership structure.
                                                                                                                                                                • Yes •      No



                                                      3.   Please list all non-director and non-officer shareholders who directly or beneficially hold common stock and the
                                                           percentage owned by each (if none, so indicate)
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                                                            Non director or non officer shareholders:                      % of voting shares owned:
                                                           None                                                            None                                 %
                                                           None                                                            None                                 %

                                                      III. EMPLOYMENT PRACTICES LIABILITY COVERAGE SECTION

                                                      1.   Within the last year has the Company updated its employment practices handbook, or human
                                                           resources policies and procedures or department?
                                                           If the answer is yes, please attach a copy of updated materials and a description of changes.
                                                                                                                                                           • Yes •      No

                                                      2.   Number of Employees who have left the Company over the past 12 months:

                                                           Voluntary:    3                               Involuntary:      3




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                                                                                          8Starr Surplus Lines Insurance Company
                                                                          399 Park Ave, New York, NY* Tel (646) 227-6377* Fax (631) 685-6738

                                                      IV. FIDUCIARY LIABILITY COVERAGE SECTION

                                                      1.   Please complete the following information regarding the Company’s employee pension benefits plan

                                                           Pension Benefit             Plan assets       Defined Contribution (DC)   DB Only -Amount       Number of
                                                             Plan Name               (current year)                 Or              underfunded (only if   Participants
                                                                                                              Defined Benefit         more than 25%)
                                                                                                                   (DB)
                                                           N/A                 N/A                      N/A                        N/A                   N/A


                                                      2.   In the next 12 months is the Company contemplating (or has the Company completed within
                                                           the last year) merging or terminating any plan(s)?
                                                           If yes, please attach an explanation.
                                                                                                                                                          • Yes •      No


                                                      V. CRIME

                                                      1.   Does the Company:

                                                                 a.   Allow the employees who reconcile the monthly bank statement to also sign checks,

                                                                 b.
                                                                      handle deposits and have access to check signing machines or signature plates?
                                                                      Have procedures in place to verify the existence and ownership of all new vendors
                                                                                                                                                          • Yes •      No

                                                                      prior to adding them to the authorized master vendor list?
                                                                                                                                                          • Yes •      No
                                                                 c.   Verify invoices against a corresponding purchase order, receiving report and the
                                                                      authorized master vendor list prior to issuing payment?
                                                                                                                                                          • Yes •      No

                                                      2.   How often does the Company perform a physical inventory check of stock and equipment?          $ Annually
                                                      3.   What is the limit above which the Company requires countersignature for their checks?          $ N/A


                                                      VI. NOTICES TO COMPANY
                                                      The undersigned authorized representative of the Company declares that the statements set forth herein are true,
                                                      and reasonable effort has been made to obtain sufficient information from all persons proposed for this
                                                      insurance to facilitate the accurate completion of the Renewal Application. The undersigned authorized
                                                      representative agrees that if the information supplied on this Renewal Application changes between the date of
                                                      this Renewal Application and the effective date of the insurance, he/she will in order for the information to be
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                                                      accurate on the effective date of the insurance, immediately notify the Insurer of such changes, and the Insurer
                                                      may withdraw or modify any outstanding quotations or agreement to bind insurance

                                                      The submission of this Renewal Application by the Company to the Insurer or signing of this Renewal
                                                      Application by the Company does not obligate the Insurer to issue the insurance. It is agreed that this Renewal
                                                      Application shall be the basis of the contract if a policy is issued and shall be deemed to be attached to,
                                                      incorporated into and become part of, the policy. However, this paragraph does not apply in the state of
                                                      Wisconsin.

                                                      ALL WRITTEN STATEMENTS AND MATERIALS FURNISHED TO THE INSURER IN CONJUNCTION
                                                      WITH THIS RENEWAL APPLICATION ARE HEREBY INCORPORATED BY REFERENCE INTO THIS
                                                      RENEWAL APPLICATION AND MADE A PART HEREOF. NOTHING CONTAINED HEREIN OR
                                                      INCORPORATED HEREIN BY REFERENCE SHALL CONSTITUTE NOTICE OF A CLAIM OR


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                                                                                8     Starr Surplus Lines Insurance Company
                                                                     399 Park Ave, New York, NY* Tel (646) 227-6377* Fax (631) 685-6738
                                                      POTENTIAL CLAIM SO AS TO TRIGGER COVERAGE UNDER ANY CONTRACT OF INSURANCE.
                                                      PROVIDED, HOWEVER, THIS PARAGRAPH DOES NOT APPLY IN THE STATE OF WISCONSIN.

                                                      NOTICE TO WISCONSIN RESIDENTS: THE SUBMISSION OF THIS RENEWAL APPLICATION BY
                                                      THE COMPANY TO THE INSURER OR SIGNING OF THIS APPLICATION BY THE COMPANY DOES
                                                      NOT OBLIGATE THE INSURER TO ISSUE THE INSURANCE. NOTHING CONTAINED HEREIN
                                                      SHALL CONSTITUTE NOTICE OF A CLAIM OR POTENTIAL CLAIM SO AS TO TRIGGER
                                                      COVERAGE UNDER ANY CONTRACT OF INSURANCE. ALL WRITTEN STATEMENTS AND
                                                      MATERIALS FURNISHED TO THE INSURER IN CONJUNCTION WITH THIS RENEWAL
                                                      APPLICATION ARE MADE A PART HEREOF PROVIDED THIS RENEWAL APPLICATION AND SUCH
                                                      MATERIALS ARE ATTACHED TO THE POLICY AT THE TIME OF ITS DELIVERY.

                                                                                                WARNING

                                                      ANY PERSON WHO, WITH INTENT TO DEFRAUD OR KNOWING THAT S(HE) IS FACILITATING A
                                                      FRAUD AGAINST AN INSURER, SUBMITS AN APPLICATION OR FILES A CLAIM CONTAINING A
                                                      FALSE OR DECEPTIVE STATEMENT MAY BE GUILTY OF INSURANCE FRAUD.
                                                      NOTICE TO ARKANSAS APPLICANTS: “ANY PERSON WHO KNOWINGLY PRESENTS A FALSE
                                                      OR FRAUDULENT CLAIM FOR PAYMENT OF A LOSS OR BENEFIT, OR KNOWINGLY PRESENTS
                                                      FALSE INFORMATION IN AN APPLICATION FOR INSURANCE IS GUILTY OF A CRIME AND MAY
                                                      BE SUBJECT TO FINES AND CONFINEMENT IN PRISON.”

                                                      NOTICE TO KENTUCKY APPLICANTS: “ANY PERSON WHO KNOWINGLY AND WITH INTENT
                                                      TO DEFRAUD ANY INSURANCE COMPANY OR OTHER PERSON FILES AN APPLICATION FOR
                                                      INSURANCE CONTAINING ANY MATERIALLY FALSE INFORMATION, OR CONCEALS FOR THE
                                                      PURPOSE OF MISLEADING, INFORMATION CONCERNING ANY FACT MATERIAL THERETO,
                                                      COMMITS A FRAUDULENT INSURANCE ACT, WHICH IS A CRIME.”

                                                      NOTICE TO LOUISIANA APPLICANTS: “ANY PERSON WHO KNOWINGLY PRESENTS A FALSE
                                                      OR FRAUDULENT CLAIM FOR PAYMENT OF A LOSS OR BENEFIT, OR KNOWINGLY PRESENTS
                                                      FALSE INFORMATION IN AN APPLICATION FOR INSURANCE IS GUILTY OF A CRIME AND MAY
                                                      BE SUBJECT TO FINES AND CONFINEMENT IN PRISON.”


                                                      NOTICE TO OHIO APPLICANTS: “ANY PERSON WHO, WITH INTENT TO DEFRAUD OR
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                                                      KNOWING THAT HE IS FACILITATING A FRAUD AGAINST AN INSURER, SUBMITS AN
                                                      APPLICATION OR FILES A CLAIM CONTAINING A FALSE OR DECEPTIVE STATEMENT IS GUILTY
                                                      OF INSURANCE FRAUD.”

                                                      NOTICE TO OKLAHOMA APPLICANTS: "WARNING: ANY PERSON WHO KNOWINGLY, AND
                                                      WITH INTENT TO INJURE, DEFRAUD OR DECEIVE ANY INSURER, MAKES ANY CLAIM FOR THE
                                                      PROCEEDS OF AN INSURANCE POLICY CONTAINING ANY FALSE, INCOMPLETE OR
                                                      MISLEADING INFORMATION IS GUILTY OF A FELONY".

                                                      NOTICE TO TENNESSEE APPLICANTS: "IT IS A CRIME TO KNOWINGLY PROVIDE FALSE,
                                                      INCOMPLETE OR MISLEADING INFORMATION TO AN INSURANCE COMPANY FOR THE
                                                      PURPOSE OF DEFRAUDING THE COMPANY. PENALTIES MAY INCLUDE IMPRISONMENT, FINES
                                                      OR A DENIAL OF INSURANCE BENEFITS."


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                                                                                     e       Starr Surplus Lines Insurance Company
                                                                       399 Park Ave, New York, NY* Tel (646) 227-6377* Fax (631) 685-6738
                                                      NOTICE TO TEXAS APPLICANTS: "ANY PERSON WHO KNOWLINGL Y PRESENTS A FALSE OR
                                                      FRAUDULENT CLAIM FOR THE PAYMENT OF A LOSS IS GUILTY OF A CRIME AND MAY BE
                                                      SUBJECT TO FINES AND CONFINEMENT IN STATE PRISON."

                                                      VI. DECLARATION AND SIGNATURE
                                                      THE UNDERSIGNED AUTHORIZED REPRESENTATIVE IS MAKING THE REPRESENTATIONS IN THIS
                                                      APPLICATION ON BEHALF OF THE COMPANY AND ALL ENTITIES OR PERSONS PROPOSED FOR
                                                      COVERAGE UNDER THE POLICY.

                                                                                                          SIGNATURE                                      TITLE


                                                                                                                                           /!2i!:&o~~                ~In~

                                                      NOTE: This Renewal Application must be signed by the President, CFO and/or CEO of the applicant Company acting as
                                                            the authorized agent of the persons and entity(ies) proposed for this insurance.

                                                              If this Renewal Application is completed in Florida, please provide the Insurance Agent's name and license
                                                              number as designated. If this Renewal Application is completed in Iowa, please provide the Insurance Agent's
                                                              name only.


                                                      VII. PLEASE ATTACH THE FOLLOWING REQUIRED INFORMATION:
                                                      0 Most recent CPA prepared financial statements
                                                      D Most recent CPA Letter to Management and management's response (If this Letter is not issued, so indicate)
                                                      0 Most recent EEO-I Report (Applicable to Employment Practices Liability coverage only)

                                                      PRODUCER (Insurance Agent or Broker)             INSURANCE AGENCY OR BROKERAGE



                                                      INSURANCE AGENCY TAXPAYER I.D. OR                AGENT OR BROKER LICENSE NO.
                                                      SOCIAL SECURITY NO.


                                                      ADDRESS OF AGENT OR BROKER (Include Street, City and Zip Code)
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                                                      E-MAIL ADDRESS OF AGENT OR BROKER



                                                      SUBMITTED BY (Insurance Agency)                  INSURANCE AGENCY TAXPAYER I.D. OR SOCIAL SECURITY
                                                                                                       NO.

                                                      ADDRESS OF AGENT OR BROKER (Include Street, City and Zip Code)




                                                      If this Application is completed in Wisconsin, the following notices apply:




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                                                                                        Starr Surplus Lines Insurance Company
                                                                       399 Park Ave, New York, NY* Tel (646) 227-6377* Fax (631) 685-6738
                                                            If any Aggregate Limit of Liability as set forth in Item 4A. or 4B. of the Declarations is exhausted by the
                                                             payment of Loss, all obligations of the Insurer under this policy as respects the applicable Coverage
                                                             Section(s) will be completely fulfilled and the Insurer will have no further obligations under this policy
                                                             of any kind as respects the applicable Coverage Section(s) and the premium as respects the applicable
                                                             Coverage Section(s) as set forth in Item 7 of the Declarations will be fully earned.

                                                            If the Aggregate Policy Limit of Liability as set forth in Item 4C. of the Declarations is exhausted by the
                                                             payment of Loss, the Insurer will have no further obligations of any kind as respects this policy and the
                                                             applicable premium set forth in Item 7 of the Declarations will be fully earned.

                                                            The Discovery Period premium shall be fully earned at the inception of the Discovery Period.

                                                            In the event the policy is canceled by the Parent Company, the Insurer shall retain the customary short
                                                             rate proportion of the premium.

                                                            This policy shall be non-cancellable and the entire premium shall be deemed fully earned upon the
                                                             effective time of the Organizational Change.

                                                       ___________________________________________________________________________
                                                         RESOLUTE PORTFOLIO SM is a registered service mark owned by C. V. Starr & Co., Inc.
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                                                       Endorsement No.:        22
                                                       This endorsement, effective:        November 3, 2017
                                                       (at 12:01 a.m. Standard Time at the address stated in Item 1 of the Declarations)
                                                       Forms a part of Policy No.:      1000057336161
                                                       Issued to: AHG Properties, LLC
                                                       By:     Starr Indemnity & Liability Company


                                                                                                 AMEND POLICY PERIOD


                                                      It is understood and agreed that Item 2 of the Declarations, POLICY PERIOD, is deleted in its entirety
                                                      and replaced with the following:


                                                         ITEM 2:           POLICY PERIOD:                    From:     November 3, 2016 To:              November 30, 2017
                                                                                                              (12:01 a.m. Standard Time at the address stated in Item 1)




                                                         All Claims made during the Policy Period and during the amended or extended Policy Period set
                                                         forth in this endorsement shall be subject to the Limits of Liability set forth in Item 4 of the
                                                         Declarations.



                                                       ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                                                     Authorized Representative
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this May 14, 2019


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     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com
